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                               United States District Court
                                  District of Nebraska

 Rodney Johnson,                                        Case No. _____________

               Plaintiff,

        v.                                                       Complaint
                                                              (42 USC § 1983)
 CITY OF OMAHA; BROOK BENCH and
 MATT KALCEVICH, in their individual
 and official capacities; and STEVEN
 SLATER and KARI VASQUEZ, in their
 individual capacities,

               Defendant.



                                     I.     Introduction

       1.1     Rodney Johnson owns BFW’S Fleet Wash, LLC (BFW), a single member
Limited Liability Corporation located in North Omaha that has been providing cleaning
services in Eastern Nebraska for twenty-eight years. BFW normally employs twenty to
thirty workers and has successfully performed dozens of public and private cleaning
contracts in Omaha and Lincoln. The company is named after Johnson’s mother, Bessie
Johnson. Rodney Johnson is Black.

        1.2   All Johnson has ever asked when bidding public contracts is for the equal
protection the law requires, for both BFW and other contractors. He asks only that the
rule of law be followed.

       1.3    In July 2019 officials employed by the City of Omaha Parks Department
publicly requested proposals from qualified vendors to provide custodial services for the
City’s parks and recreational facilities. BFW is a qualified vendor and was interested in
the contract.

        1.4    In bidding for the custodial services contract, Johnson was treated anything
but fair, and afforded anything but equal protection by the City officials. Either because
he demanded compliance with the law during the bidding process; because he filed a
taxpayer lawsuit alleging the City deviated from the law when awarding an unrelated
contract for garbage disposal; or because he is Black, Omaha Parks Department officials
acting under color of law consistently ignored applicable laws and City ordinances to

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provide its preferred bidder, who is White, an unfair advantage and to prevent BFW from
winning the bid.

       1.5     When the City was ultimately forced by Johnson to award BFW the
contract, after a bidding and re-bidding process that lasted over a year, City officials
named herein immediately concocted a four-part “Janitorial Plan” to terminate the
contract regardless of how BFW performed its obligations. After arbitrarily terminating
BFW almost immediately, the City awarded the contract to its preferred bidder, BMI
Janitorial Group (hereinafter, “BMI”).

       1.6    The City’s conduct violated BFW’s rights protected by the United States
Constitution.

                                       II.       Parties

       2.1     Plaintiff is Rodney Johnson (hereinafter, “JOHNSON”), a resident
business owner, homeowner, and taxpayer residing and conducting business within the
corporate limits of the City of Omaha, Nebraska. He is the sole owner of BFW, a
cleaning company that has been bidding jobs with the City of Omaha since 2013.

       2.2    Throughout the bidding process for the custodial services contract,
JOHNSON and BFW had sufficient experience and resources in the commercial
custodial business to accomplish the City’s custodial requirements, specifications and
expectations related to the contract at issue; was ready and able to compete in a fair
bidding process for cleaning contracts offered by the City; and submitted bids
conforming to the City’s Request for Proposal (RFP) and Request for Bids (RFBs).

      2.3    Plaintiff has standing.

       2.4    Defendant City of Omaha (“CITY”) is a city of the “metropolitan class”
under Neb. Rev. Stat. § 14-101 and “a body corporate and politic” with the power to sue
and be sued. The City’s policy-level officials, including but not limited to Parks and
Recreation Directors, were personally involved in and directed the deprivation of
JOHNSON’s Constitutional rights as alleged herein.

       2.5    Defendant Brook Bench (“Director BENCH”) is a policy-level decision-
maker employed as Director of the City’s Parks Department (“City Parks”) throughout
the bidding process alleged herein. He began his term as Director December 14, 2013.
BENCH is sued in his official and individual capacities.

       2.6   Defendant Matt Kalcevich (“Director KALCEVICH”) is a policy-level
decision-maker employed as Director of the City’s Parks Department (“City Parks”). He


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began his term as Director December 14, 2020. Kalcevich is sued in his official and
individual capacities.

       2.7     Defendant Steven Slater (“Coordinator SLATER” or “SLATER”) is and, at
all times relevant, was the Contractual Services Coordinator for the City of Omaha Parks
Department. Slater’s duties included maintaining and supervising contractual agreements,
including the cleaning services contracts at issue, and supervising performance of
contractual agreements, including the contractual agreements at issue. Coordinator
SLATER is sued in his individual capacity.

       2.8    Kari Vasquez (“Coordinator VASQUEZ” or “VASQUEZ”) is and, at all
times relevant, was the Parks Department’s Community Center Facility Coordinator for
the City of Omaha. Working with SLATER. Her duties included maintaining and
supervising the contractual agreements at issue. VASQUEZ is sued in her individual
capacity.

       2.9     At all times relevant herein, BENCH, SLATER and VASQUEZ combined,
conspired and coordinated their efforts in furtherance of denying JOHNSON equal
protection of the law. After BENCH resigned, KALCEVICH joined the efforts of
SLATER and VASQUEZ as the new Director.

       2.10 At all times relevant herein, BENCH, KALCEVICH, SLATER and
VASQUEZ acted either with evil motive or intent, or with reckless or callous
indifference to JOHNSON’s federally protected rights

        2.11 JOHNSON requests an opportunity to add additional Parks Department
officials as Defendants after a reasonable opportunity for initial discovery.

                                     III.   Jurisdiction

      3.1     Plaintiffs’ claims arise under the laws of the United States, including 42
U.S. §1983. This Court exercises jurisdiction pursuant to 28 U.S.C. § 1331.

             IV.    Custodial Services Contract Bidding Process – First Bid

       4.1 The Fourteenth Amendment of the United States Constitution, Title VI of the
Civil Rights Act of 1964 and Article I, §30 of the Nebraska Constitution prohibits City
officials, including each of the named Defendants from discriminating based upon race in
the award of bids. Under like provisions, City officials, including the named Defendants,
are obligated to act in accordance with due process, to afford all bidders equal protection
of the laws, and to refrain from acting in retaliation for a bidder’s exercise of his First
Amendment rights.

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       4.2    On July 31, 2019 the Douglas County Purchasing Agent, on behalf of the
City’s Parks, Recreation, and Public Property Department (“Parks Department”), issued a
Request for Proposal (RFP) from qualified vendors to provide custodial services for the
City’s parks and recreational facilities.

       4.3    Prior to issuing the RFP, City Parks officials, including SLATER, had
knowingly and unlawfully expended public funds by repeatedly extending the custodial
contract with RTG rather than opening the job to a public bidding process after 6 years,
as required by §§ 5.16 and 5.17 of the City’s Charter.

        4.4    After deciding to open the contract to public bidding as required, Parks
officials including SLATER directed issuance of an RFP, rather than a Request for Bid
(RFB) with a specifically described scope of work, in an effort to facilitate continued
defiance of laws designed to ensure an equitable process affording equal opportunity to
qualified bidders. By issuing an RFP, the City designed a more subjective process,
providing it more latitude to recommend awarding the contract to its preferred bidder and
evade review of its conduct.

      4.5   By issuing an RFP, Parks Officials including SLATER could determine
which bids would be referred to a committee for evaluation.

      4.6    Six vendors submitted proposals in response to the City’s RFP. The six
vendors identified were:
             4.6.1 RTG Building Services (“RTG”)
             4.6.2 BFW
             4.6.3 BMI
             4.6.4 ABM
             4.6.5 Jani King Omaha
             4.6.6 Nifty Clean, LLC

        4.7    The bids of ABM and Jani King were not responsive because they were not
certified participants in the City’s SEB program. The bid submitted by Nifty Clean,
LLC’s bid, which was much higher than other bidders, and much higher than the previous
provider, was declared too high by SLATER.

      4.8    That left RTG, BFW and BMI.

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       4.9    RTG was the incumbent contractor for the previous seven years under a
contract paying RTG approximately $311,920.00 over its last 12-month period. RTG
submitted a conforming RFP bid proposal totaling $496,620.00 annually.

      4.10 BMI was the City’s preferred contractor. BMI submitted a non-conforming
RFP bid proposal to provide the services at the cost of $223,920.00 annually, a bid so low
it immediately caused concerns among city officials reflected by email correspondence.

       4.11 On Aug 21, 2019, BFW submitted a bid offering the company’s cleaning
services at $297,499.98 annually. Through either neglect or malfeasance, SLATER
misreported BFW’s bid as $318,000.

       4.12   BFW had submitted the lowest conforming bid.

        4.13 On August 28, 2019, JOHNSON delivered a resident taxpayer demand
letter to the President of Omaha’s City Council, Chris Jerram in care of the Omaha City
Clerk’s office.

       4.14 JOHNSON’s taxpayer demand was unrelated to BFW or the RFP for parks
and recreation cleaning services. In his taxpayer demand, JOHNSON demanded repeal
of Ordinance No. 41925, which awarded a contract for solid waste collection to FCC
Environmental Services based upon the violation of bidding procedures.

      4.15 Neither BFW, nor any business in which JOHNSON had an interest,
submitted a bid proposal for the solid waste contract. As a taxpayer and as an individual,
JOHNSON alleged the ordinance contravened provisions of § 5.16 of the City’s Charter.
The request was pending in the City’s Law Department before being denied on
September 26, 2019.

      4.16 Parks officials knew JOHNSON was the sole member of BFW when
reviewing and considering BFW’S bid.

       4.17   They also knew JOHNSON was Black.

       A. The City’s RFP Violated SEB Program’s Preference for Tier I Candidate.
       4.18 Contrary to Omaha Municipal Code (hereinafter, “OMC”) Sec. 10-
200.3(d), which establishes Tier I and Tier II vendors certified in the City’s Small and
Emerging Business program, Parks officials including BENCH, SLATER and
VASQUEZ determined that Tier II bidders would be given preference over Tier I bidders
during the bid evaluation process.
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        4.19 Under the City’s SEB program, businesses are categorized as Tier I and
Tier II based on the location of their headquarters and the location of their employees.
Contractors qualify as Tier I rather than Tier II by agreeing to maintain their principal
place of business in areas of the city with higher levels of poverty which correspond to
higher population concentrations of Black Omahans and other people of color.

       4.20 JOHNSON and BFW met this incentive in 2013 by establishing BFW’s
place of business at 5203 North 53rd Street in Omaha. Since September 5, 2013, BFW
has been awarded certification by the City’s Human Rights & Relations Department as a
Tier I ESB contractor in the City’s SEB Program established by the City’s Municipal
Code of Ordinances Chapter 10, Division 5.

       4.21 The city publishes a Certification Directory listing all SEB Certified
businesses, their status as a Tier I or Tier II vendor, their Ethnic Origin and Gender, and
other information.

        4.22 At the time the RFP was issued, there were eleven Certified Tier I ESB’s
listed in the SEB Program Directory’s “Janitorial” category.

       4.23 At the time BFW submitted its bid proposal, BFW was listed as a Certified
Tier I ESB in the City’s SEB Directory. The directory correctly listed BFW’s ethnic
origin and gender as “Black/African American” and “Male”.

       4.24   RTG was a Certified Tier II ESB listed in the SEB Directory as “Hispanic”.

        4.25 BMI was listed in the SEB Directory as a Certified Tier II ESB contractor
and listed the Ethnic Origin and Gender of BMI as “White” and “Female”. The business
is located at 423 S. 162nd Street in Omaha. The directory lists Dan Beckman as the
Contact Person for BMI. Beckman is a white male, the company’s owner, and runs the
day-to-day operations of BMI. As alleged below, Beckman was the City’s contact person
for BMI and Parks officials frequently communicated with him regarding the contract.
There is no known female with any significant involvement in the operation of BMI’s
business. BMI’s SEB certification date is listed as August 8, 2019, after the City’s RFP
was issued.

       4.26 OMC Section 10-200, provides, “It is necessary and expedient, and it is
hereby declared necessary and expedient, to require the inclusion of certain provisions in
contracts with the city to promote and encourage the creation of business opportunities
for emerging and small businesses of the city, to compete for city contracts; and to

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promote equality of access to city contracts. Further, the objective of this ordinance is to
enable the establishment of incentives, savings, funding and other methods to engage
emerging and small businesses.”

        4.27 Consistent with this ordinance, the City’s SEB Participation Utilization
Form included in the City’s July 31, 2019 RFP, affirmatively stated: “It is the policy of
the City of Omaha that Small and Emerging Small Businesses shall have the maximum
practicable opportunity to participate in City of Omaha projects. Consequently, the
requirements of the Small and Emerging Small Business Program ordinance apply to this
solicitation. … The City of Omaha has given preference to the above-referenced category
of participants in the preparation of these contract documents according to the provisions
of OMC 10-200.3(d).”

       4.28 The City’s SEB ordinance also provides Certified Tier I Emerging Small
Businesses (ESB’s) priority when awarding bids. OMC 10-200.3(d), provides: “Provided
that an adequate number of certified entities are available, the solicitation or request for
proposal will give priority to certified Tier I and/or Tier II small businesses and/or
emerging small businesses. "Priorities" are set forth as follows: if there is an adequate
number of Qualified and Certified ESBs, first priority shall be given to Tier I ESBs; if
not, then the next priority will be given Tier II ESBs; if there are not an adequate number
of ESBs, then priority shall go to Tier I small businesses and then to Tier II small
businesses.”

      4.29 As such, the priority created by Ordinance and the RFP provided preference
for ESB’s over Small Business’s, and for Tier I ESB’s over Tier II ESB’s.

       4.30 Of the three bidders qualified under the SEB program, only BFW was listed
as a Certified Tier I ESB “Black/African American” owned business. BFW’s bid
proposal conformed with the requirements of the RFP, Accordingly, Omaha City
Ordinances provided BFW priority over all others except other Tier I ESB bidders.

        4.31 BENCH, SLATER, VASQUEZ and other City officials knew the
information alleged in the foregoing paragraph at the time it directed release of the RFP
solicitation document.

       4.32 Despite Omaha Municipal Code Sec. 10-200.3(d), and BFW’s status as a
Certified Tier I ESB contractor, Parks officials including BENCH, SLATER and
VASQUEZ expressly established preference for a Certified Tier II ESB contractor.


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             4.32.1 The RFP expressly stated a preference for a Certified Tier II ESB
                    contractor; and disqualified all Certified Tier I contractors from
                    award consideration.

             4.32.2 Electronic communications from Parks Department officials reveal
                    RTG, a Certified Tier II ESB, was allowed by SLATER to
                    participate with the Parks Department in drafting the 2019 RFP’s bid
                    specifications.

             4.32.3 When JOHNSON requested an extension of his bid on behalf of
                    BFW, he was informed his bid was removed from consideration on
                    the basis it did not meet the RFP requirements because BFW was not
                    a Tier II contractor.

             4.32.4 SLATER attempted to justify its preference for a Tier II contractor
                    in an email sent to the City’s Legal Department,


       4.33 After drafting and publishing the RFP specifications, the City established
an Evaluation Committee to evaluate bid proposals forwarded to it by SLATER.
Members of the Committee would use an objective process to evaluate multiple bidders
and render scores to assist SLATER in fairly determining the best bid.

      4.34   With BENCH’S knowledge and approval,

      4.35 Contrary to the foregoing law, SLATER forwarded, with BENCH’S
knowledge and approval, only two bid proposals to the Committee for evaluation: BMI
(though it was a Tier II ESB), and RTG (though its bid price was 37% higher than BFW’s
bid).

       4.36 SLATER made the determination to forward only the proposals of BMI and
BFW only after JOHNSON filed the taxpayer demand alleged in paragraphs 4.13 through
4.15 above herein.

      4.37 SLATER’S decision forced BFW to petition Parks officials for the
opportunity to have its bid proposal evaluated and its management interviewed by the
Evaluation Committee.

       4.38 After being evaluated by the Committee, BFW’s bid proposal received the
highest-ranking evaluation score of 85.5 points and quoted a price 4.6% lower than what
the City was paying its previous contractor.

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      4.39   BFW’s bid should have been accepted immediately:

             4.39.1 It was a Certified Tier I ESB contractor.

             4.39.2 Its bid conformed to the RFP specifications

             4.39.3 Its bid was the lowest of any responsive bids submitted by a
                    Certified Tier I ESB provider.

             4.39.4 Its bid scored highest in the objective evaluation.

             4.39.5 No City official articulated a legitimate basis to withhold awarding
                    BFW the bid.

      4.40 Instead, Parks officials including BENCH and SLATER continued to
consider BMI’s non-conforming bid proposal in violation of the RFP solicitation
document and additional bid award procedures.

      4.41   There existed no rational basis for this disparate treatment.

      B. The City’s Parks Department Considered and Supported BMI’s bid
         proposal despite the fact it was non-conforming.

       4.42 In addition to being a Tier II contractor with lower priority than BFW, a
Tier I ESB contractor, BMI’s bid proposal was non-conforming.

      4.43 Article III, § A, of the RFP stated, in part “Proposals that do not conform to
the mandatory items as provided in the proposal instructions will not be considered.”

    4.44 The RFP’s proposal instructions also stated in part “PROPOSALS MUST
MEET THE FOLLOWING REQUIREMENTS TO BE CONSIDERED VALID.
PROPOSALS WILL BE REJECTED IF NOT IN COMPLIANCE WITH THESE
REQUIREMENTS.”

      4.45 The RFP’s Submittal Requirements bidding instructions stated in part:
“Vendor should submit one (1) original, two (2) copies, and two (2) electronic copies
(CD or Flash, Drive, editable format) of their entire proposal. Proposals, including
CD/flash drive, must be submitted, and received in the Omaha City Clerk’s Office by the
proposal opening date and time. All attachments must be completed and returned with
proposal.”



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      4.46 The City utilizes Douglas County Purchasing Department Custodial
Services Parks Facilities Bid Tabulation indicated that BMI’s bid submissions did not
comply with the RFP’s bid proposal’s mandatory Submittal Requirements instructions.

      4.47 BMI’s bid failed to conform with these requirements because BMI did not
submit the paper and electronic copies required. Under the terms of the RFP, the bid
should have been denied out of hand. Those are the rules.

       4.48 It can be inferred from their continued consideration of BMI’s bid proposal
that Parks officials, including the named Defendants, knowingly and intentionally acted
to deny JOHNSON equal protection of the laws because he is Black, to ignore laws
requiring priority be given to Tier I ESB bidders, and to arbitrarily, capriciously and
unlawfully punish JOHNSON for his unrelated taxpayer demand concerning the award of
the solid waste disposal contract to FCC.

      C. City’s Parks Officials publishes Notice of Intent to award the contract to
         BMI

       4.49 Despite BMI being a Tier II ESB contractor submitting a non-conforming
bid proposal, City Parks issued with BENCH’S approval and at the behest of SLATER a
Notification of Intent to Award a contract to BMI on or around November 4, 2019.

      4.50 On January 7, 2020, the City Law Department submitted for the City
Council’s consideration Ordinance 42122 – “An ordinance to approve an Agreement with
BMI Janitorial Group in the total amount of $680,760.00, for custodial services at various
Recreational Facilities in the City of Omaha through the year 2022, with the option to
extend for either an additional three (3) year term, or three (3) one-year terms.”

       4.51 In response, both RTG and BFW filed formal bid protests with the City
Clerk’s office opposing approval by the City Council of the Parks’ Department’s award
of the contract to BMI.

       4.52 On January 14, 2020, the City Council conducted public hearing on
Ordinance No. 42122. During the hearing, multiple opponents to the Parks Department’s
recommendation made arguments pointing out the BMI’s bid proposal was non-
compliant and, under the RFP’s rules, could not be considered a qualifying bid. Despite
the bid being in violation of the rules, Parks officials assisted by Assistant County
Attorney Ryan Wiesen spoke in favor of awarding the contract to BMI nonetheless,
suggesting the language was new or conflicting or otherwise hard to comply with.


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       4.53 Opponents of the ordinance presented records garnered by request for
public records made by JOHNSON. Specifically, opponents provided public records
showing the language relied upon to reject all bids had, in fact, been included in City
published RFP’s for years and, throughout the course of their use, had been complied
with at a high rate. The opponents demonstrated the RFP’s language is not new and has
never been considered “conflicting” or the subject of debate.

       4.54 Upon conclusion of the January 28, 2020, hearing, the City Council denied
the City Parks Department’s recommendation to award the contract to BMI.

       D. The City’s Parks Department arbitrarily reject BFW’s Lowest
          Conforming Bid to Order Re-Bid

       4.55 After the City Council properly rejected award of the bid to BMI, City
Parks officials, including BENCH and SLATER. continued on its course of denying fair
consideration of BFW’s lowest conforming bid from a Tier I ESB contractor.

        4.56 BENCH, SLATER and City Law officials awaited making a decision on
whether the project would be re-bid to hear from Beckman regarding whether BMI
intended to appeal. During this time, SLATER advised Beckman as to the procedures to
file an appeal. Liz Leddy, an administrative assistant to the City Council, offered
Beckman assistance from her personal attorney.

       4.57 During this time, Parks officials including BENCH and SLATER made no
attempt to contact or negotiate with BFW though it was a Certified Tier I ESB contractor
and had submitted a conforming bid proposal which received the highest-ranking
evaluation score from the Evaluation Committee and quoted the lowest price of any
conforming bidder.

        4.58 Instead, within hours of the Council’s rejection of BMI Coordinator
SLATER drafted language for letters rejecting all bids and sent it by email for approval
to Deputy City Attorney Michelle Peters. On January 29, 2020, Director BENCH sent a
letter to all bidders notifying them all bids would be rejected and the project would be re-
bid.

        4.59 The letter stated, “Dear Mr. ___ _This letter is to serve as written notice
that all proposals submitted for the Request for Proposals - Custodial Services for City of
Omaha Parks Facilities have been rejected by the Omaha City Council due to conflicting
criteria in the required document specifications. This project will be re-bid in the near


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future. We appreciate your interest and participation in the proposal process.
Respectfully, Brook Bench, Director”.

       4.60 In response to an email query from ABM’s owner regarding the letter
notifying the owner all bids would be rejected, SLATER also falsely wrote, “the Omaha
City Council rejected all proposals for [the RFP] due to conflicting language in proposal
instructions regarding which documents were required to be submitted with proposals
and which documents were optional.”

       4.61 The statements by BENCH and SLATER that all proposals submitted for
the RFP had been rejected by the Omaha City Council due to conflicting criteria in the
required document specifications was false. The City Council had not rejected BFW’s bid
based on purported conflicting criteria. The Council had not rejected it at all.

        4.62 By failing to award the contract to BFW and directing a re-bid, Parks
officials BENCH and SLATER violated OMC Sec. 10-200.3(d), requiring the Parks
Department to coordinate with HRR to determine if an ESB can complete a bid and to
provide Tier I ESB’s priority.

              4.62.1 This did not happen.

        4.63 By failing to award the contract to BFW and directing a re-bid, Parks
officials and SLATER also violated OMC Section 10-107.

       4.64 Section 10-107 provides that such contracts “shall be awarded to the lowest
and best bid” and, “[i]f the department recommends awarding a contract to aa bidder
other than the apparent low bidder, the department shall notify in writing the low bidder
that such bid is not being recommended, the reason(s) why the bid is not being
recommended, and that a resolution is being forwarded to the city council for approval of
another bidder.

              4.64.1 Such notice was not provided to BFW.

              4.64.2 No legitimate reasons could have been provided.

      4.65 By denying all bids and ordering a re-bid, the department also violated
OMC Section 10-110, which allows rejection of all bids for this contract only; 1)
“because the bids received are over budget,” or 2) “because circumstances have
changed”.


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             4.65.1 Neither of these circumstances existed.

             4.65.2 Director BENCH did not send written notice to all bidders that the
                    City would reject bids until the City Council declined approval to
                    award the contract to the City’s preferred vendor, BMI.

             4.65.3 Director BENCH did not cite the RFP bid proposal price quotes as
                    being over budget or that the circumstances requiring the custodial
                    services required for its Parks facilities changed.

             4.65.4 Director BENCH had previously reviewed the RFP bid proposals
                    and determined that all bids should not be rejected.

             4.65.5 Director BENCH determined that an award recommendation was an
                    appropriate action.
             4.65.6 Contrary Section 10-110 of the Municipal Code, Director BENCH
                    did not provide written notice to BFW of the reason(s) for the
                    rejection or email a copy of the required notice to the City Council
                    or the City Clerk. He could not have cited legitimate reason.

        4.66 By failing to award the contract to BFW and directing a re-bid, Parks
officials including BENCH and SLATER violated the City’s Purchasing Department
Policy Manual, which stipulates, in part, “The resulting contract from an RFP will be
awarded to the vendor who has been deemed responsible, responsive to the
requirements outlined in the RFP, received the highest-ranking scores, and whose
services and/or products have been determined by the Selection Committee to be the
most advantageous to the City.”

             4.66.1 BFW is a responsible vendor who has successfully served the City
                    in the past. No official contended otherwise.

             4.66.2 BFW’s bid proposal was responsive to the RFP requirements. No
                   official contended otherwise.

             4.66.3 BFW’s bid proposal received the highest-ranking proposal
                   evaluation scores.

             4.66.4 Of the two qualified vendors submitting conforming bids, BFW’s
                   bid proposal was clearly the most advantageous. BFW’s bid was
                   consistent with the amount paid to the incumbent bidder and 37%
                   lower than RTG’s.

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      4.67 City officials including BENCH and SLATER knew of, disapproved of,
and were angered or frustrated by JOHNSON’S taxpayer demand related to the solid
waste disposal contract awarded to FCC. The demand served as motivation to deny
BFW’s initial bid on the cleaning contract.

       4.68    There was no rational basis to deny BFW’s initial bid.

       4.69 By violating the foregoing requirements and by rejecting BFW’s bid based
on lack of bad faith, favoritism, ill will, fraud, collusion, prejudice or advantage to BMI,
or through undue influence, the CITY, BENCH and SLATER acted arbitrarily and
capriciously.

      4.70 By violating the foregoing requirements, City officials including SLATER
provided BMI a second chance to win award of the contract.

       4.71    The arbitrary rejection of JOHNSON’s bid caused him actual injury, including
economic damages, as well as personal humiliation, damage to his reputation, mental anguish
and suffering.

              V.      Custodial Services Contract Bidding Process – Second Bid

       5.1    In February 2020, after his bid proposal had been rejected despite being the
lowest conforming bid from a Tier I ESB vendor, JOHNSON sent several requests for
public records regarding the bidding process initiated in August 2019.

       5.2     Because the public records requests concerned communications involving
BENCH, SLATER and other Parks officials, many Parks officials were aware of the
requests, including BENCH, SLATER and VASQUEZ.

      5.3      On March 18, 2020, the Parks officials published through the Douglas
County Purchasing Department a Request for Bid (RFB) and Bid Sheet entitled “City of
Omaha Custodial Services for Park Facilities (Re-Bid)” (hereinafter, “First Re-Bid”). The
Bid Solicitation Period for the First Re-Bid was from March 18, 2020, until April 29,
2020.

       5.4    Prior to drafting the RFB, SLATER solicited from Beckman his
preferences for the specifications set forth in the RFB.

       5.5         Prior to issuing the RFB, SLATER told Beckman it was coming out.



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     5.6     Prior to issuing the RFB, SLATER provided Beckman legal advice and
named lawyers who may help.

     5.7    BENCH knew SLATER was communicating and coordinating with
Beckman regarding the bid.

     5.8   The Re-Bid RFB required bidders to provide a “BID BOND OR
CERTIFIED CHECK REQUIRED IN THE AMOUNT 5% OF THE TOTAL AMOUNT
FOR THE ITEM OFFERED IS $20,000 OR MORE.”

      5.9     The RFB for the First Re-Bid included a bid clause prohibiting
communication between potential vendors and City of Omaha employees, except for
communication sent by email to bidquestions@douglasCity-ne.gov. The RFB further
provided, “Violation of these conditions may be considered sufficient cause to reject a
vendor’s bid and/or selection irrespective of any other condition.”

       5.10 The Re-Bid RFB also included a provision requiring vendors to supply
commercial vacuums and industrial floor scrubbers to store at each City Parks facility to
be cleaned. BFW met this requirement.

       5.11   Like the 2019 RFP solicitation, six potential vendors submitted bids. The
six were:

              5.1.1 BFW

              5.1.2 Nifty Clean (Nifty)

              5.1.3 “RTG” a/k/a LP Building Services Group

              5.1.4 BMI

              5.1.5 Inveterate Solution

              5.1.6 Browns Commercial Cleaning, LLC (BCC)

       5.12 BMI and Inveterate Solution submitted insufficient bid security and their
bids were not read or recorded due to their noncompliance with the RFB’s submittal
requirement.

       5.13 BCC’s bid was limited to carpet cleaning at the Parks facilities and
therefore non-conforming.


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       5.14 Accordingly, the First Re-Bid generated complete and responsive bids from
three responsible bidders:

             5.1.7 BFW bid $327,096.00 inclusive of a RFB solicited Value
                   Engineering Cost Proposal (VECP) aimed at combatting COVID-19.

             5.1.8 RTG bid $308,000.00

             5.1.9 Nifty bid $365,900.00

        5.15 Under the VECP offered by BFW, BFW would provide additional
sanitizing services aimed directly at the COVID-19 virus, but not required by the RFB, at
a reduced cost. Parks officials including SLATER did not acknowledge, investigate or
credit the VECP when reporting BFW's bid amount.

       5.16 Under the SEB Program requirements. BFW had an award priority over
bids that were submitted by non-Tier I ESB vendors. Accordingly, though RTG
submitted a responsive bid of $308,000.00 as a Tier II ESB, SEB Program requirements
establish RTG’s priority as lower than BFW’s priority as a Tier I contactor.

      5.17 Parks officials, including BENCH, SLATER, VASQUEZ and Tracy
Stratman knew City Ordinances required awarding the bid to BFW.

      5.18 Instead of awarding the contract to BFW, Parks officials including BENCH
and SLATER continued their fight to see that BMI would be awarded the bid.

      5.19   The efforts began by mistabulating the BFW bid.

      5.20   On April 16, 2020, SLATER wrote the following to Director BENCH:

      With the latest Custodial Services bid occurring in the middle of the COVID-19
      pandemic, we believe it would best to reject the current bids and have the project
      rebid a second time. There was confusion over the change in bid bond
      requirements from the proposal (RFP) to the bid (RFB), along with concerns
      raised by potential bidders of the accessibility of our closed facilities to help
      prepare their bids. With all the issues the pandemic has caused everyone, we
      believe it would be in the best interest to have the project rebid a second time. If
      everyone is okay, I will notify Purchasing and prepare a bid rejection letter for
      Michelle to review and have Brook.” (emphasis added).




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        5.21 After the City Law Department rejected SLATER’s proposal as “an effort
to accommodate [BMI],” Parks Manager Tracy Stratman wrote the following to
SLATER and other staff members, “We will need to chat about this. Steve do you want
to set something up?” These emails are attached hereto and marked Exhibit A.

       5.22 It can inferred Stratman invited the meeting because the communications
that would take place could not be discoverable by JOHNSON in response to public
records requests.

        5.23 On April 20, SLATER and members of the Evaluation Committee
including Joshua Frey, Tracy Stratman and Christopher Haberling, met to discuss next
steps. It can be reasonably inferred SLATER called the meeting for the purpose of
determining the means of enabling BMI to win the bid, and to deny BFW the bid though
BFW is a Tier I ESB and though the contract could be properly awarded to BFW without
further consideration.

      5.24 It is also reasonable to infer that SLATER led the group to decline the
award to BFW.

      5.25 Following that meeting, on April 29, 2020, Parks officials BENCH and
SLATER directed notice be published that it would again reject all bids submitted in
response to the March 18, 2020, First Re-Bid.

      5.26   BFW’s conforming bid was again rejected.

      5.27   A second re-bid was ordered.

      5.28   BMI would have yet another chance.

      5.29   There existed no rational basis to reject BFW’s conforming bid.

       5.30 City officials including BENCH and SLATER had grown increasingly
angered or frustrated by JOHNSON’S taxpayer demand related to the solid waste
disposal contract awarded to FCC, especially after learning of his February 2020 public
records requests. The taxpayer demand and public records requests continued to serve as
motivation to deny BFW’s initial bid on the cleaning contract.

       5.31 By rejecting BFW’s second bid, the CITY, BENCH and SLATER acted in
bad faith, with favoritism for BMI and ill will toward BFW, through fraud, collusion, and
undue influence, and arbitrarily and capriciously.

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        5.32 The arbitrary rejection of JOHNSON’s bid for a second time again caused
him actual injury, including economic damages, as well as personal humiliation, damage
to his reputation, mental anguish and suffering.

       5.33 On June 10, 2020, Vince Powers, Esq. filed a public record related to the
custodial services contract on behalf of JOHNSON.

       5.34 On June 20, 2020, Parks Director BENCH resigned from his position with
the City of Omaha.

      5.35   Tracy Stratman has since also separated from the Parks department.

             VI.   Custodial Services Contract Bidding Process – Third Bid

        6.1    On July 21,2020, JOHNSON filed a public records request for information
involving the award of the solid waste disposal contract to FCC Environmental Services
after violating bidding procedures.

       6.2   On August 19, 2020, Parks officials including SLATER directed publishing
of an RFB for a second re-bid on the contract (hereinafter “Second Re-Bid”).

       6.3    On August 20, 2020, JOHNSON filed a taxpayer lawsuit challenging award
by the City of the solid waste disposal contract to FCC. The City was served with the
lawsuit on August 26, 2020.

       6.4    The vendor responses to the Second Re-Bid RFB were publicly opened by
the City’s Bid Opening Committee on September 2, 2020.

      6.5   In response to the Second Re-Bid RFB, only three vendors submitted bids.
All were complete and responsive:

             6.5.1 BFW bid $266,279.00

             6.5.2 BMI bid $291,170.00

             6.5.3 RTG bid $336,000.00.

       6.6     The Second Re-Bid again included the customary prohibition on
communication between potential vendors and City employees. Again, however, City
Parks officials including SLATER communicated with BMI’s principal Dan Beckman
during the August 19, 2020 through November 10, 2020 bid evaluation period in
violation of the RFB prohibition and City policy.


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       6.7     On one occasion, Beckman asked PARKS officials for a bid bond amount
and Slater suggested 5% before directing Beckman to the relevant county official. In
contrast, if JOHNSON asked a question during the evaluation period he was refused an
answer.

       6.8     Officials in the City Law Department, in response to public records
requests filed by Johnson, have since admitted that emails reflecting improper
communications between Parks officials and Beckman were improperly deleted.

       6.9    On September 29, 2020, City Parks gave notice of intent to award the
services contract to BFW.

    6.10 On September 30, 2020, a City Parks Advisory board Member wrote to
SLATER, “How mad is BMI over this!? Crazy… now we have to deal with [BFW]!”

       6.11 On November 10, 2020, the City Council passed Ordinance No. 42362,
authorizing entry into a contract with BFW.

        6.12 On November 12, 2020, the City’s Mayor signed an Agreement with BFW
for the custodial services bid. Consistent with the RFB, the contract provided for a start
date of January 1, 2021.

       6.13 On November 13 and November 23, 2020, JOHNSON sent public records
requests related to the bidding process for the custodial cleaning contract.

    VII.   Offer of Settlement in Separate Taxpayer Case Rejected and Followed by
                                     Amended Complaint

       7.2    On December 22, 2020, an order was entered in the Douglas County
District Court sustaining the CITY’S motion to dismiss JOHNSON’S taxpayer lawsuit
based on an asserted lack of standing.

       7.4    On December 31, 2020, JOHNSON filed the second lawsuit, again
challenging the FCC contract and adding additional allegations regarding standing.

                        VIII. Wrongful Termination of Contract

        8.1     As law required, the CITY entered into a three-year contract with BFW at
$266,279.00 annually equaling $798,837 over the three-year period and $1,597,674.00
over a reasonably anticipated six-year contract term. JOHNSON’S reasonably anticipated
profits over a six-year term were $987,090.00.



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       8.2      The agreement acknowledged that BFW “has been determined to have the
sufficient experience and resources in the commercial custodial business to accomplish
the City’s custodial requirements, specifications and expectations.” A copy of the
contract is attached hereto and marked Exhibit B.

      8.3    Now working under the supervision of their new Director, KALCEVICH,
SLATER and VASQUEZ would be primarily responsible for coordinating with BFW to
achieve appropriate cleaning of parks and recreational facilities. Facility Supervisors at
each parks and recreation facility would also coordinate with BFW and report concerns to
both BFW and SLATER and VASQUEZ.

        8.4      City officials including KALCEVICH, VASQUEZ, and others had grown
even more more angered or frustrated by JOHNSON’S unrelated taxpayer demand and
litigation that followed related to the solid waste disposal contract awarded to FCC, as
well as his continued public records requests.

      8.5     The taxpayer demand and public records requests continued to serve as
motivation to deny BFW’s an equal opportunity to serve as a cleaning services provider.

       8.6   After BFW signed the agreement October 19, 2020, Parks officials
including SLATER requested BFW begin performance a month early, on December 1,
2020, because of C.A.R.E.S. Act funding had been received.

      8.7   For reasons unknown, Parks officials made the request through the Douglas
County Purchasing Division. BFW agreed, provided the required contract Performance
Bond, and immediately purchased the required commercial vacuums and industrial floor
scrubbers.

                          A. Refusal to Set Cleaning Standards

       8.8    The contract set forth the cleaning standards to be met by BFW using a
variety of terms, including: “thoroughly and consistently cleaned”, “in a satisfactory
manner”, “according to reasonable and acceptable standards”, “according to reasonable
and accepted commercial standards”, and “in accordance with … all direction provided
by the City Representative and in accordance with the provisions of the Agreement.”

        8.9    JOHSON was aware of the existence of industry standards applicable to
this type of cleaning contract. The commonly accepted industry standards of which he
was aware made understanding of the contractual standards difficult. He wished to rely
upon agreed upon standards to guide BFW’s performance of the cleaning contract.



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      8.10 When BFW requested, even before performance was to begin, clarity as to
what cleaning standards applied, Parks officials ignored him.

       8.11 Instead of responding in good-faith, SLATER and VASQUEZ took
affirmative steps throughout December and January to prevent communication between
JOHNSON and Parks officials or Facility Supervisors on this and other issues.

      8.12 Parks officials, including SLATER and VASQUEZ, also sabotaged any
working relationship between BFW and Facility Supervisors, those who would have first-
hand knowledge of and supervise BFW’s performance.

        8.13 Under the contract, Parks Department Facility Supervisors would inspect
the areas required cleaned and report findings to BFW. Under part VIII.C., the contractor
is obligated to “direct any questions or complaints directly to the Facility Supervisor.”

      8.14 Additionally, BFW was required to coordinate with Facility Supervisors on
scheduling so that their operations would not interfere with use of the facilities.

       8.15 On or about December 10, 2020, JOHNSON sent a supplemental public
records request to the city clerk, Elizabeth Butler. The items requested included
communications between Parks officials and BMI, including Dan Beckman, during the
bidding process in violation of bidding prohibitions.

       8.16 This request especially angered PARKS officials including SLATER
because it would lead to discovery SLATER had engaged in improper communications
and/or that SLATER had improperly destroyed emails reflecting those communications.

       8.17 As BFW began performance in December, 2020, BFW implemented or
attempted to implement quality assurance efforts to maximize the quality of services
provided. BFW’s quality assurance program was designed to evaluate the quality of BFW
cleaning crew performance through the use of customer surveys, spot inspections,
established cleaning metrics, facility supervisor reports and other strategies so that any
complaints about work outcomes could be quickly addressed and resolved. Facility
Supervisors would be an important part of the quality assurance program.

       8.18 As part of its quality assurance efforts, BFW sent City Parks authorities on
December 15, 2020: (1) a request for collaboration and feedback form; and (2) A 30-day
review surveys for completion by Facility Supervisors. He hoped to receive feedback
using the forms at a meeting on or about December 30, 2000.

      8.19 In response to JOHNSON’S requests, SLATER instructed his Facilities
Supervisors to withhold feedback and refused to facilitate any kind of coordination with

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BFW in December. Instead of responding to JOHNSON, Coordinator VASQUEZ, by an
email dated December 17, 2020, directed all Facility Supervisors to direct any
communication to BFW through her and to include SLATER and Manager
HABERLING on the email.

       8.20 On December 30, 2020, JOHNSON asked by email for a one-month
performance review from each of the Facility Supervisor. Rather than allow the
Supervisors to respond to JOHNSON directly, VASQUEZ directed the Supervisors by
email dated January 6, 2021, to complete the reviews and send them to her and SLATER
only.

                         B. Development of Scheme to Terminate

        8.21 Emails received through JOHNSON’S public records requests show that at
least as early as January 22, 2021, Director KALCEVICH, SLATER, VASQUEZ and
others developed a scheme called Janitorial Parts I through IV (“Janitorial Scheme”). The
purpose of the plan was to facilitate termination of the contract with BFW, regardless of
whether BFW met its contractual obligations.

      8.22 Execution of the scheme by KALCEVICH, SLATER AND VASQUEZ
generated an 867% increase in complaints from Facilities Supervisors about cleaning
performance.

       8.23 One part of the scheme included the adoption of a newly created and
subjective grading scale which, despite Johnson’s requests, was not shared with BFW.


       8.24 Another part of the plan was to pressure Facility Supervisors to find fault in
BFW’s performance. When Facility Supervisors reported no deficiencies or
complimented the work of BFW crews, they were directed to find or create deficiencies
and report them.

        8.25 Records of electronic communications between Parks officials shows that,
on at least one occasion, the pressure caused one Facility Supervisor to submit a
complaint about cleaning performance hours prior to when the location had actually been
cleaned. This instance happened to occur one day prior to BFW’s first thirty-day review.

       8.26 On January 19, 2021, JOHNSON sent emails confronting members of the
the City Law Department about whether SLATER and others in the Parks Department
had deleted email reflecting communication between Parks officials and BMI during the
contract bidding process, in violation of bidding rules. On or about that date, JOHNSON
was informed by the Law Department that no more the department would answer no

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more questions about the emails. It can be inferred from JOHNSON’S communications
with the law department that emails had been improperly deleted from city servers.

       8.27 On January 21, 2021, JOHNSON as a taxpayer sent a public records
request related to the bidding process for a contract to clean the Omaha City Library.

        8.28 On January 27, 2021, JOHNSON invited Nebraska State Senator Terrell
McKinney and Chamber of Commerce official Jason Fisher to walk through one or more
facilities SLATER and VASQUEZ had reported complaints about. After JOHNSON
invited SLATER and VASQUEZ to join the walk throughs, SLATER forwarded the
JOHNSON’s email to the Legal Department, prompting an email from the Legal
Department stating, “Bringing in a State Senator and/or other community leaders does
not foster a sense of conciliation and cooperation, but rather a sense of controversy
and hostility which I believe is completely misplaced.”

       8.29 On January 29, 2011, the CITY made an offer of settlement to JOHNSON
to resolve the litigation after JOHNSON expressed an intention to file a new Complaint
including better allegations on the issue of standing. JOHNSON declined the offer.

      8.30 On January 29, 2021, SLATER informed JOHNSON the performance
surveys sent for completion by Facility Supervisors would not be used. Later, in April,
SLATER again directed BFW to not contact Facility Supervisors requesting their
feedback on BFW’s performance.

          8.31   On January 29, 2021, SLATER wrote in an email to KALCEVICH and
Peters:

          “While there have been no legal action specifically initiated against our
          department, I do consider legal action against the City on other matters as
          adverse action.”

The email is attached hereto and marked Exhibit C.

          8.32   Also that morning, Director KALCEVICH wrote:

          “Not sure if pointing out the email requests or referencing these other actions,
          that are highly unorthodox or even suspect to an ulterior motive is necessary.
          However, no matter what happens I know we will keep our guard up.”

      8.33 The legal actions “against the City on other matters” were: (1) JOHNSON’s
taxpayer action filed in the district court challenging the award of a waste disposal



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contract to FCC Environmental Services; and (2) JOHNSON’S public records requests
providing information about the bidding process.

      8.34 Both of these actions represented JOHNSON’s lawful right to petition the
government, as a taxpayer and as a contractor. Neither had anything to do with BFW’s
performance of their obligations under the contract.

       8.35 It is unclear why Director KALCEVICH believed it necessary for his City
Parks team to keep their “guard up” less than two months after BFW’s performance
under the contract began, as JOHNSON strived unsuccessfully to clarify cleaning
standards and create productive relationships with the Facility Supervisors who would
observe and report BFW’s performance.


        8.36 The purposes of VASQUEZ’s directive and SLATER’s subsequent
decision to prevent a working relationship between Johnson and Facility Supervisors
were to: (1) prevent the constructive communication necessary for success in any
employment relationship; (2) prevent BFW from understanding and meeting the City’s
expectations under the contract thereby preventing BFW from curing any perceived
cleaning deficiencies; (3) afford KALCEVICH, SLATER, VASQUEZ and other Parks
officials an opportunity to develop information supporting termination of the contract
and/or disregard, deter development of, or dispose of information indicating material
performance of the contract; and (4) develop a basis for termination of the contract in
accordance with the Janitorial Plan.


      8.37 All such actions taken toward the ends alleged in the preceding paragraph
were arbitrary, capricious, in bad-faith, and with the discriminatory intent of replacing a
Black-owned Certified Tier I ESB with a White-operated Tier II ESB, contrary to State
law and Omaha Municipal Code designed to afford BFW equal opportunity, and despite
BFW’s substantial compliance with its obligations under the contract.

      8.38 All such actions toward the ends alleged in paragraph 8.34 were motivated
by JOHNSON’S unrelated taxpayer litigation as well as his public records requests.

      8.39 On February 5, 2021, the CITY filed a motion seeking dismissal of the
taxpayer lawsuit. That motion remained pending through all times relevant to this lawsuit
and was eventually overrruled.

        8.40 On February 11, 2021, VASQUEZ again sent an email to a Parks Project
Manager mentioning an anticipation of litigation. What VASQUEZ and other Parks
officials believed they would be sued for is unclear.
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                C. Exclusion of Human Rights and Relations Department

       8.1     Under §3.14A of the City Charter, the City’s HRR department is charged
with the responsibilities of administering the City’s SEB Program and “for the
investigation, elimination and prevention of all forms of prohibited discrimination,
including that based on race, creed, color, religion, sex, national origin, age, disability,
marital status, or any other form of discrimination proscribed by ordinance or resolution.”

        8.2   As the biased, prejudicial, capricious conduct of the City’s parks officials
continued even after award of the contract, JOHNSON sought help on February 16, 2021,
from Franklin Thompson, Director of Omaha’s office of Human Rights and Relations
(HRR). JOHNSON sought help working collaboratively with KALCEVICH and Parks
officials. THOMPSON referred JOHNSON back to KALCEVICH.

       8.3     KALCEVICH learned of JOHNSON’S contact with Thompson and was
upset by it.

       8.4    On February 22, 2021, KALCEVICH called JOHNSON and immediately
attacked BFW. Though the purpose of the call was to talk about issues presented by the
cleaning contract, KALCEVICH accused Johnson and BFW of being more concerned
with his public records requests and lawsuits than with doing the cleaning work. During
the call, KALCEVICH gave JOHNSON AND BFW a verbal 30-day notice of
termination.

        8.5   At the time he gave the verbal notice, KALCEVICH was unaware written
notices were required and believed his verbal notice would allow termination of BFW in
thirty days. He was later informed by VASQUEZ written notices were required to
terminate BFW.

       8.6    KALCEVICH also expressed his anger to City Legal about Thompson’s
involvement. On February 25, Thompson informed JOHNSON he had been told by the
Law Department his office had no jurisdiction over BFW’s contract with the City
“because it did not involve Housing or Employment discrimination based on one of the 7
protected classes.”

       8.7   The CITY had somehow prevailed upon Thompson to abdicate his duties
when called upon by JOHNSON and to provide JOHNSON a patently false excuse for
doing so.




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                               D. Communications Freeze

       8.8    Contrary to the plain terms of the contract, Thompson also informed
JOHNSON that only KALCEVICH and Assistant City Attorney Michelle Peters could
discuss the contract with him. JOHNSON was now prevented from communicating not
only with Facility Supervisors but with SLATER, VASQUEZ and other Parks officials as
well.

       8.9    In March, Director KALCEVICH directed an email to JOHNSON
questioning his motives. Johnson explained he simply was trying to arrive at an
acceptable cleaning standard following industry best practices.
                                E. Wrongful Termination

       8.10 Site Supervisors knew as early as January of KALCEVICH’S and
SLATER’S intent to terminate the contract. In a January 14, 2021 email, a Supervisor’s
email stated to the effect, “We understand the problems with this company and we are
working to get rid of them.”
       8.11 In another, VASQUEZ encouraged Field Supervisors to immediately report
deficient cleaning efforts on a shared audit spreadsheet, stating, “I am trying to talk
[Director KALCEVICH and Legal] into sending a second [30-day notice] letter sooner
than later.

       8.12 The decision by City officials, including KALCEVICH and SLATER, to
terminate BFW was motivated, at least in part, by JOHNSON’S exercise of his rights as a
taxpayer to challenge the award of the solid waste contract to FCC through public records
requests and litigation.

       8.13 The decision by City officials, including KALCEVICH and SLATER, was
also motivated by JOHNSON’S exercise his right as a citizen to request public records
informing whether City officials were abiding by laws aimed at preventing discrimination
or corruption in the award of city contracts.

      8.14 After answering the call to begin providing services a month early, BFW
had performed its obligations under the contract for less than four months while
attempting to maintain adequate staffing during the COVID19 pandemic and in the
absence of productive communication with Facility Supervisors.

       8.15 On March 23, 2021, a Parks Department Recreation Coordinator sent an
email referring to anticipated litigation, “The Law Department asks that we do not


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respond socially like this to Rodney. And that we should only send the initial morning
emails because these replies are what he can use against us in court.”

      8.16 Also on March 23, 2021, KALCEVICH issued a 30-day written notice to
remedy deficiencies or face contract termination.

       8.17 The March 23 notice was the second notice given by KALCEVICH. The
contract required in excess of three notice prior to termination.

       8.18 The bases for termination set forth by KALCEVICH were either fabricated
or insufficient to warrant issuance of a 30-day notice, to wit:

             8.18.1 The number of “No-Shows” were inaccurately alleged. For
                    example, overnight cleaning would occur the following day waiting
                    for the building to be open, then accused of missing previous day.

             8.18.2 The ability to remedy any complaint was impossible because the
                    complaints were reported days after the alleged offense.


             8.18.3 BFW was informed that moldy conditions left at a location by RTG
                    had been remedied and instructed BFW to proceed with their
                    cleaning. The mold had not been properly addressed, resulting in
                    BFW employees being exposed to unnecessary health risks., despite
                    the fact that it hadn’t been addressed. The fabrication of the remedy
                    exposed our employees to health risks.

       8.19 On April 1, JOHNSON sent an email again requesting clarification of the
cleaning standards so that any deficiencies could be addressed. In response,
KALCEVICH directed SLATER and/or VASQUEZ to provide a response based upon
the language of the contract and to let the Law Department review it first.

       8.20 On five occasions between March 29 and April 26, 2021, BFW requested
input on how to remedy any deficiencies, but received no direct response from
KALCEVICH or others.

       8.21 Winsley Durand, Director of the Omaha Chamber of Commerce’s Reach
Program send a letter to KALCEVICH suggesting the Parks Department should utilize a
clear cleaning standard. KALCEVICH did not respond to the letter.




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       8.22 On April 2, 2021, SLATER wrote to Johnson, “We ask again that you do
not contact our supervisors requesting their opinion of the services provided by BJ’s Fleet
Wash. Our supervisors are to report any deficiencies … at their specific centers.”

        8.23 By April 6, 2021, the R.E.A.CH. Executive Director, HRR Director
Thompson, and the SEB Program Director all advised Johnson to relinquish the contract
in exchange for a release of his performance bond. It is believed this was part of either
Part III or Part IV of the previously conceived Janitorial Scheme.

      8.24 The contract reserved the City’s right, upon termination of the contract to
award the contract to the next most qualified Contractor with the lowest bid price,” BMI.
The CITY terminated the contract May 4, 2021 and awarded the contract to … BMI.

       8.25 The actions of Defendants, and each of them, throughout the bidding
process and after award of the contract to BFW, were taken while harboring malice or
reckless indifference to JOHNSON’S federal constitutional rights, including the right to
equal protection, to due process and to petition his government for the redress of
grievances.

        8.26 The actions of Defendants, and each of them, throughout the bidding
process and after award of the contract to BFW, would chill a person of ordinary firmness
from exercising their constitutional rights to petition the government for redress of their
grievances, to free speech, and to exercise their rights under Nebraska law, including
their right to request public records.

        8.27 The actions of Defenddants, and each of them, caused JOHNSON actual
injury, including economic damages, as well as personal humiliation, damage to his
reputation, mental anguish and suffering.

                              IX.    Disparate Treatment

       9.1   JOHNSON and BFW were subjected to disparate treatment both
throughout the bidding process and as a party to the City parks and recreation cleaning
contract.

       9.2    In contrast to BFW’s experience with the CITY, RTG enjoyed during its
contractual relationship with the CITY many benefits and allowances not afforded BFW.
Parks Officials including SLATER and VASQUEZ:

              9.2.1 Allowed RTG direct communication with Facility Supervisors.



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             9.2.2 Allowed RTG to participate in drafting the initial 2019 RFP scope of
                   work and specifications.

             9.2.3 Did not require RTG to make an initial investment in equipment and
                   cleaning supplies upon commencement of their duties under the
                   custodial services contract.

             9.2.4 Allowed RTG to use City owned equipment to perform contracted
                   work.

             9.2.5 Made prompt payments to RTG despite complaints of poor custodial
                   services cleaning performance.

             9.2.6 Used relaxed cleaning standards for RTG.

             9.2.7 Permitted RTG to clean facilities as thoroughly as BFW, yet retained
                   the contract even well beyond the term allowed by the contract with
                   all its extensions.

             9.2.8    Despite RTG’s deficient performance, retained the company as their
                     cleaning contractor and extended the contract seven years and
                     extended the contract even after the City was required to open the
                     contract up for public bidding.

       9.3    After terminating the contract with BFW and retaining its preferred
contractor BMI, Parks department officials including KALCEVICH, SLATER and
VASQUEZ:

             9.3.1 Contrary to the contractual requirement to provide a performance
                   bond within ten days after execution of the contract, did not require
                   BMI to provide a performance bond at least until at least March 1,
                   2022.

             9.3.2 Did not require BMI to provide own cleaning supplies.

             9.3.3 Relaxed the cleaning requirements and exercised less scrutiny over
                   BMI’s performance.

             9.3.4 Facilitated communication between BMI and City Parks Facility
                   Supervisors, providing Beckman a spreadsheet and initiating walk-
                   throughs to clarify for BMI cleaning standards and needs.



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          9.3.5 Directed Facility Supervisors to clean areas left dirty by BMI
                cleaning crews.

          9.3.6 Communicated a remedy plan to avoid termination after a 30-day
                notice was necessary.

                                 X.     Damages

   10.1 RODNEY JOHNSON, as sole owner of BFW, requests the following
       relief:

   10.2   Economic Damages including but not limited to:

          10.2.1 Expenses incurred in the course of his participation in each of the
                 three bidding processes.

          10.2.2 $4,762,500 as and for reasonably anticipated lost income; or
                 alternatively lost profits over a six-year period.

          10.2.3 $7,988.37, as and for the 3% bid performance deposit made by
                 JOHNSON.

          10.2.4 Expenses incurred for performance of the contract, including but
                not limited to the cost of equipment, supplies, insurance, bonds,
                employment advertising, payroll onboarding and expense.

   10.3   Compensatory Damages

   10.4   Punitive damages

   10.5   Attorneys Fees

                           Rule 38 Demand for Jury

   11.1 In accordance with Rule 38 Fed. R. Civ. P., JOHNSON demands a jury and
       asks that this case be designated on the docket as a jury action




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                                        Plaintiff, Rodney Johnson,



                                        By:
                                        Adam J. Sipple, Esq., #20557
                                        Domina Law Group pc llo
                                        2425 S. 144th St.
                                        Omaha, NE 68144
                                        (402) 493-4100
                                        asipple@dominalaw.com




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M Gmail                                                                          Joshua J. Frey (PMtc} <Joshua.frey@cityofomaha.org>



Fwd: CustodiaJ Bid
1 m~ssage

Tracy M. Stratman (Prks-CG) <Tracy.stratman@cityofomaha.org>                                 Thu, Apr 16, 2020 at 1:47 PM
To: "Joshua J. Frey {PMfo)" <joshua.frey@cityofomaha.org>, "Steven R. Slater (Prks)" <Steven.Slater@cityofomaha.org>,
"Christopher K. Haberling (Prksf' <christopher.haberling@cityofomaha.org>

 We will need to chat about this. steve do you want to set something up?

 - - - - Forwarded message ------
 From: Brook K. Bench (PMtc) <Brook.Bench@dtyofomaha.org>
 Date: Thu, Apr 16, 2020 at 11 :11 AM
 Subject: Re: Custodial Bid
 To: Michelle Peters (Law} <Michelle.Peters@cityofomaha.org>                   .         .      .
 Cc: StevenR Slater (Prks) <Steven.Slater@cityofomaha.org>, Tracy Stratman <Tracy.Stratman@cityofomaha.org>


 I t_hink we shouldfol/ow Michelles recommendation. I'm sure ifwe rebid .it again many red flags would-go up.

 On Thu, Apr 16, 2020 at 10:46 AM Michelle Peters (Law) <Michelle-.Peters@cityofomaha.org> wrote:                                                        Ir
   l don'tthink there is a reasonable basis to rebid. If you can show me emails or something from at least 2 bidders that
   say they were hampered in some way maybe. But this seems to.be an effort to accommodate the one bidder that
  screwed up his bid bond and I don'.t think that is fair. While I feel bad for him, that is his fault for not reading the
                                                                                                                                                         It
  requirements.            ·                                                 ·

   Micfie{{e Peters
   Deputy City Attorney
   {402}444-5128
    michelle.peters@cityofomaha.org

     The information contained in this emaif contains confidential information from the Omat,a City Attorney's Office that is intended solely for the
   · recipient set forth above. Any redistribution, copying·or other dissemination of the contents of this transmission is prohibited. Please be
     advised that the contents of this email may be intercepted or diverted through transmission over.the internet and therefore the security of this·
     email cannot be guaranteed by the sender.


   On Thu, Apr 16, 2020 at 10:27 AM Steven R. Slater (Prks) <Steven.Slater@cityofomaha.org> wrote:
    l Brook & Michelle,
                                                                                                                                                         i
      With the latest Custodial Services bid occurring In the mlddle of the cov10-·19 pandemic, we believe It would best to
      reject the current bids and have the project rebind a second time.

                                                                                                                                                         I
                                                                                                    ·

      There was confusion over the change in bid bond requirements from the proposal (RFP) to the bid (RFB), along with
      concern~ raised by potential bidders of the accessibility of our closed facilities to help prepare their bids. With all the
      issues.the pandemic has caused everyone, we believe it would be in the best interest to have the project rebid a
      second time.            ·                                              ·

      If everyone is okay, I will notify Purchasing and prepare c1 bid rejection letter for_Michelle to review and have Brook
      sign.


      Thanks,



      Steve Slater

      Contractual Services Coordinator
      City of Omaha Parks, Rec & Public Property Dept.
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                                                    AGREEMENT
                               CUSTODIAL SERVICES - CITY OF OMAHA PARK FACILITIES


This Custodial Services Agreement, (hereinafter referred to as "Agreement" ) is hereby made and entered into by
and between the City of Omaha, a municipal corporation organized and existing under the laws of the State of
Nebraska located in Douglas County, (herei nafter referred to as "City"), and BJ's Fleet Wash, LLC, (hereinafter
referred to as "Contractor").

I.        PURPOSE

The purpose of the Agreement is to set forth the specifications, requirements and expectations of the City for the
custodial services performed at its Park Facilities, including Community Centers and Recreational Facilities. The
City's Communit y Centers and Recreational Facilities are open to the public and are extensively utilized on a day-
to-day basis throughout the year. It is required that these facilities be thoroughly and consistently cleaned
according to the specifications set forth in this Agreement.

II.       TERM

The term of the Agreement shall be for a period of three (3) years from the date of the Omaha City Council's
approval. This Agreement may be extended, at the sole option of City and exercised by the Director of Parks,
Recreation and Public Property or their designated representative, for either an additional three (3) year term, or
for up to three (3) additional one-year terms at the discretion of the City.

Ill. GENERAL REQUIREMENTS & SPECIFICATIONS

The Contractor has been determined to have the sufficient experience and resources in the commercial custodial
business to accomplish the City's custodial requirements, specifications and expectations. The Contractor shall
provide all management, supervision, equipment, supplies and labor to ensure that the custodial services
contained in this Agreement are performed in a manner that will maintain clean and healthy conditions in the
Community Centers and Recreational Facilities at all times. The Contractor shall be held to the highest standards
by the City in the performance of this Agreement.

With the COVID-19 pandemic continuing to evolve throughout the county, this Agreement Contractor to be
educated on and able to provide and utilize the products and services for both routine cleaning and deep cleaning
of fa cilitates in accordance with industry standards related to th e COVID- 19 virus cleaning and disinfecting
requirements.

It is understood between the parties that the purpose of these specifications are to ensure that all facilities shall be
kept clean according to reasonable and accepted commercial standards, and in accordance with these
requirements, specifications and expectations conta ined in this Agreement, regardless of the number of times an
operation is required to accomplish this result.

     A.   Supplies: During this Agreement, the City shall furnish the following supplies: 1) Paper Towels; 2) Toilet
          Tissues; 3) Soft-Hand Soap; and 4) Hand Sanitizer for Contracto r personnel to restock all related dispensers
          within the facilities on a daily basis.

          All other cleaning materials and supplies shall be supplied by Contractor, including, but not limited to: 1)
          Heavy-duty plastic bags; and 2) Trash Can Insert Liners.

           1)    Contractor's cleaning equipment, suppl ies and materials must meet the approval of City. The City

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                 reserves the right to require changes in cleaning equipment, supplies and materials shown to be sub-
                                                                                                                                             ~


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         2)   All disinfectants used by Contractor in the performance of this Agreement must be a detergent
              thickened and non-acid bowl and bathroom cleaner that effectively eradicates the COVID-19 and the
              HIV virus (chlorine bleach is not acceptab le as a disinfectant).

         3) · Commercial/Industrial cleaning products and supplies must be from a reputable supplier; products or
              materials that are environmenta lly safe and that meet the sustainability criteria outlined in Indoor
              Environmental Quality (IEQ) Credit 3.3 Green Cleaning.

         4)   All mops, buffs, cleaning cloths, buckets, and/or or other tools or machines shall be supplied by the
              Contractor and remain the property of the Contractor. Material and equipment belonging to the
              Contractor must be marked with Contractor's identification .

 B.     Sub-Contracting of Services: Contractor shall not sub-contract any services in this Agreement, without
                                                                                                               the
       prior written permission of City. Contractor must have the experience, resources and capacity to perform all
       the custodial services required, without the need or use of sub-contractors.

 C.    Contractor Storage at City Facilities: For this Agreement, City will provide a small storage room at each
       location, which Contractor can utilize to store their equipment and supplies for use at that facility.

 D.    Commercial Grade Equipment: All Commercial Grade equipment, including, but not limited to mops, buffs,
       cleaning cloths, buckets, vacuum cleaners, floor scrubbers, ladders, carpet cleaners, or any other tools,
       machines or cleaning items, shall be supplied by Contractor and remain the property of Contractor.

 E.    Purchase of Equipment: At the beginning of the Agreement, Contractor shall be required to purchase new
       high efficiency industrial vacuum cleaners and industrial floor scrubbers for each Community Center. This
       equipment will be stored and used at each facility during the term of the Agreement. The vacuums and floor
       scrubbers shall be used by Contractor and remain property of Contractor. If any of this. equipment fails
       during the term of the Agreement and is unable to be sufficiently repaired, it shall be replaced by Contractor
       with new equipment of the same or similar type.

F.     Material Safety Data Sheets (MSDS): Only Commercial/Industrial cleaning supplies from reputable suppliers
       are to be used by Contractor. Contractor shall supply and keep current Material Safety Data Sheets (MSDS)
       of all products used by them at all locations in an appropriate printed booklet and digital format at all times.
       The MSDS booklet is to be kept in the custodial closet at each City facility and a digital copy of MSDS,
       preferably in PDF format, provided to City. MSDS booklets and digital copies must be submitted prior to
       start of agreement and kept current throughout the term of agreement

G.     Facility Checklist: Contractor will provide City a checklist of all duties to be performed by Contractor at each
       facility. Cleaning personnel will check off and date each duty as it is completed. These checklists will remain
       in the facility at all times and will be available for inspection by City personnel .

H.     Facility Keys: City will issue Contractor access keys to facilities for which services are to be provided . It
                                                                                                                      is
       the responsibility of Contractor to see that issued keys are not misplaced, lost, stolen or copied and to
       immediately notify City if such an event should occur. The following may be reasons for the City to
       terminate the Agreement with Contractor: (1} Failure of Contractor to immediately notify City of any
       occasion where issued keys are lost, misplaced, stolen or copied; or, (2) Any unauthorized use of issued keys
       to access facilities for any unauthorized reasons. In the event that issued keys are lost, misplaced, stolen or
       copied, Contractor shall be responsible for all costs associated with the replacement of such keys, along with
       any costs incurred for changing associated locks, as determined necessary by City.

I.     Contractor Compliance: Contractor shall comply with and all work shall be accomplished in accordance with
       all federal, state and local laws, regulations and requirements, as well as, all direction provided by the City
       Representative and in accordance with the provisions of the Agreement.

J.     Contractor Site Verification: Contractor is responsible for verifying the location of all facilities, utilities,
                                                                                                                        all
       communication, fuel and electrical lines, lighting, controls, pipes, and any other item in which Contractor will
       in any way come in contact with or which in any way will affect the accomplishment of their services .

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     K.     Contractor Coordination: Contractor shall ensure that all work being performed will not interfere with the
            operations and use of the facility, the public or City staff. Contractor shall coordinate their operations,
            including but not limited to: work hours, vehicle parking, loading/unloading and equipment storage and
            location, with the Facility Supervisor or designated representative.


IV. DESIGNATED REPRESENTATIVES

In further consideration of the mutual covenants herein contained, the parties hereto expressly agree that for purposes
of notice, including legal service of process, during the term of this Agreement and for the period of any applicable
statute of limitations thereafter, the following named individuals shall be the authorized representatives of the parties:

           BJ's Fleet Wash, LLC:                                      City of Omaha:
           Rodney Johnson, President                                  Recreation Manager (or designee)
           6716 Northridge Dr., Omaha, NE 68112                       Parks, Recreation and Public Property
           Phone: (402) 319-3390                                      1819 Farnam Street, Suite 701, Omaha, NE 68183
           Email : BJswash@yahoo.com                                  Phone: (402) 444-5900


V.        FACILITIES & SCHEDULES

Contractor shall arrange with each Facility Supervisor regard ing the time frame when the facility will be cleaned.
Facilities may be added or removed from this list at any time, for any reason, by City. All facilities are to be cleaned
fifty-two (52) weeks per year, seven (7) days per week, unless specified differently. Those facilities not currently
requiring daily cleaning are: Koch Trap & Skeet Range, Hummel Nature Center and Dewey Building. These facilities
will be cleaned on a schedule of once or twice per week. Scheduled cleaning days for these and all facilities may be
increased or decreased during the term of this agreement. See separate Seasonal Outdoor Restroom Cleaning
Schedule in Exhibit B.

No cleaning will be required on the following holidays: New Year's Day, Martin Luther King, Jr. Day, President's
Day, Memorial Day, Independence Day, Labor Day, Columbus Day, Veterans Day, Thanksgiving Day, and Christmas
Day. The hours and days of cleaning may be changed or modified by the Facility Supervisor or a designated
representative. Below is a current list of City Community Centers and Recreational Facilities:

 COMMUNITY CENTERS:                                                             NATURE CENTER:
 •        Adams Community Center: 3230 John A. Creighton Blvd.                  •   Hummel Nature Center: 3033 Hummel Park Rd .

 •        A.V. Sorensen Community Center: 4808 Cass St.                         ICE ARENA:
 •        Benson Community Center: 6008 Maple St.                               •   Motto Mclean Ice Arena: 5025 South 45 St.

 •        Camelot Community Center: 9270 Cady Ave                              TENNIS CENTERS:

 •        Christie Heights Community Center: 5105 South 37'h St.                •   Hanscom Tennis Center: 3220 Ed Creighton Ave
                                                                               •    Koch Family Tennis Center: 12440 W Maple Rd .
 •        Common Ground Community Center: 1701 Veterans Dr. (Elkhorn)
                                                                               TRAP & SKEET RANGE :
 •        Columbus Community Center: 1515 South 24 St.
                                                                               •    Harry A. Koch Trap & Skeet Range: 6802 Harrison St.
 •        Florence Community Center: 2920 Bondesson St.
                                                                               OUTDOOR RESTROOMS:
 •        Mockingbird Hills Community Center: 10242 Mockingbird Dr.
                                                                               •    Zorinsky Lake Restrooms (4) : 3808 S. 156th St.
 •        Montclair Community Center: 2304 South 135 Ave
                                                                               •    Flanagan Lake Restrooms (2) : 168th & Ida Sts.
 •        Pipal Community Center: 7770 Hascall St.
                                                                               •    Pipal Park Restrooms (1): 7770 Hascall Street
 •        Sherman Community Center : 5701 North 16 St.                         •    Dewey Park Restrooms (1) : 550 Turner Blvd.




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VI. CONTRACTOR'S PERSONNEL & SUPERVISION

  A.   Supervisory Personnel: Contractor supervisory personnel must be on call and available twenty-four (24)
       hours per day, year round . Contractor will provide City personnel with contact names and telephone
       numbers for reporting problems or reque.sting emergency services.
  B.   Bonded Personnel: Only bonded Contractor personnel must be present at City Facilities anytime custodial
       services are being performed.
  C.   Identification of Personnel: All Contractor pe rsonnel must be identifiable at all times while an City property
       by means of no less than a name plate or badge with Contractor's identification an the badge. Contractor
       will not allow any non-custodial individuals at City facilities during the performance of custodial services.
  D.   Background Checks of Personnel: All Contractor personnel are required to obtain a background checks with
       approved company prior to working in City facility. If requested, background checks will be submitted to City
       Representative. Background checks must be completed an an an -going basis for any changes in employees.
       Background checks must be completed by a service provider authorized by City and paid far by Contractor.
 E.    Training of Personnel: Contractor is responsible for providing training of its personnel. All Contractor
                                                                                                                                       I"
       personnel utilized in the performance of this service must be trained to perform the services set forth in
       these specifications.
                                                                                                                                       I
 F.    Discipline of Personnel: Contractor's personnel will not be disciplined by City personnel. Contractor' s
       Management will be alerted and informed of any violations or problems concerning Contractor's personnel.
 G.    Removal of Personnel: City shall have the authority to require the immediate removal of any Contractor
       personnel from a City site who is deemed incompetent or detrimental to the best interest of the work
       performed for City.
 H.    Listing of Personnel: If requested, Contractor must advise City of the name(s) of Contractor's employees
       providing services at all or specific City facilities.
 I.    Service Disputes: Any disputes over whether services were performed or whether they were performed in a
       satisfactory manner will be settled by Contractors designated representative and City representative.

VII. SECURITY ALARM SYSTEMS
Most facilities are equipped with Security Alarm Systems. Proper security protocol shall be observed by all
Contractor personnel working in the facilities at all times. Security of the facilities and all property contained
therein must be of an on-going concern to all Contractor personnel. Failure of Contractor personnel to follow
security requ irements will be reported to the Contractor and may result in the denial of access to the facility.

 A.    Security Alarm Codes: Contractor will be provided with alarm codes and instructions for arming and
       disarming alarm systems and contacting the designated security authority each time an alarm system is
       armed or disarmed, if applicable. Contractor will ensure that all personnel knows and fallows the protocol
       for arming and disarming alarm systems at their assigned facility and contacting the designated security
       authority each time an alarm is armed or disarmed . Failure to follow protocol may result in the designated
       security authority requesting a law enforcement response to the location. If such a response is made by law
       enforcement, and there is no unauthorized intrusion or attempted intrusion, that event will be considered a
       false alarm.
 B.    Security Alarm Activation: If an alarm signal is activated, Contractor or responsible Contractor personnel
       must immediately contact the designated security authority to provide identification and cause far the
       alarm. A false alarm will mean an alarm signal or an event eliciting an urgent response by law enforcement,
       emergency or fire personnel when a situation requiring an urgent response did not exist.

 C.    Unauthorized Individuals: Unauthorized individuals are not allowed to enter or rema in in facility when that
       facility is closed to the public. Only Contractor personnel are allowed to be in City facilities when those
       facilities are closed and only there for the purpose of fulfilling custodial requirements. Na children or non-


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            Contractor individuals will be allowed to accompany Contractor personnel inside any City facility for the
            purposes of this Agreement.

     D.    Securing Facilities: All doors designated as secured doors must be checked by Contractor to insure they are
           secured before Contractor leaves a facility; this includes exterior doors and interior doors leading into
           secured areas.

VIII. INSPECTIONS AND REPORTS
City Facility Supervisors and personnel with inspect work performed Contractor personnel and report any findings
to Contractor, if there are any issues. Periodic reviews and inspections will be made together with City and
Contractor Supervisors to determine if services are being performed as required by the established cleaning
specifications contained in this Agreement.
     A.    Monthly Inspections: Contractor's Supervisor personnel shall make monthly inspections of facilities and
           meet with each City Facility Supervisor to review work performance and correct any deficiencies.
     B.    Facility Reports: Contractor will immediately report to Facility Supervisor of any conditions observed by
           Contractor personnel that needs repairs or attention of City.
     C.    Communications: Contractor should direct any questions or complaints directly to the respective Facility
           Supervisor.

IX. PHYSICAL DAMAGE

Any physical damage caused by Contractor personnel at any facility, whether caused by accident, intent, or
negligence, will be the responsibility of Contractor to remedy at no cost to City. Repair or replacement of damage
property will be completed within a time frame arrived at by consultation with City representative. All materials
used for the replacement or repair will be pre-approved by a City representative.
Failure to make acceptable repairs and/or provide satisfactory equipment replacement will result in City
accomplishing the required repairs and/or obtaining equipment replacement. All costs, including City employee's
time and all administrative costs to make repairs or complete equipment replacement will be either deducted
from Contractor' s next billing or be charged to Contractor for the full amount of the cost incurred.

X.        LIQUIDATED DAMAGES
The City may impose Liquidated Damages to the Contractor should any of the following occur:
 A.        Failure to Perform Duties:     Failure to perform requirements, specifications and expectations contained
           within this Agreement or failure to perform duties in a satisfactory manner shall be promptly reported to
           Contractor by City. If more than four (4) such unacceptable performances or failures in any one (1) month
           occur, this may result in a 15% deduction on the amount of the billing for that month at any one or
           combination of facilities. More than eight (8) such unacceptable performances or failures in a month may
           result in a 30% deduction on the amount of the billing for that month. More than ten (10) such
           unacceptable performances or failures in a month will relieve City of any obligation to pay for service for
           that month . Any disagreement over whether services were performed or whether they were performed in a
           satisfactory manner will be settled by the Contractor's designated representative and City Representative.

 B.        False Security Alarms: In the event that Contractor is responsible a false alarm of a facilities' security alarm
           system by not following the proper security procedures and protocols, the following penalties will apply: (1)
           The false first alarm per location during each 12-month term of the Agreement, there will be no charge to
           Contractor; (2) The second false alarm per location during each 12-month term of the Agreement may result
           in a $25.00 charge to Contractor; (3) The third false alarm per location during each 12-month term of the
           Agreement may result in a $50.00 charge to Contractor; (4) The fourth and each subsequent false alarm per
           location during each 12-month term of the Agreement may result in a $100.00 charge to Contractor.



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XL SERVICE BILLINGS

Contractor is to submit a monthly bill/invoice for services completed. The first month's bill will be prorated by the
actual number of days worked, if applicable. Optional work, per-authorized by City, will be itemized and be
included in the following month's billing.

XII. INSURANCE & BOND REQUIREMENTS

Throughout the term of the Agreement and any renewal thereof, Contractor must procure and maintain in effect
during the term of this Agreement, with companies licensed to do business in the State of Nebraska and naming the
City of Omaha as an additional insured, except for Workers' Compensation policies/certificates, for the term of the
agreement.

  A.   Workers' Compensation: (Statutory Limits).

  B.   Liability Insurance: Throughout the term of the Agreement Contractor agrees to procure and maintain in
       effect during the term of this Agreement, with companies licensed to do business in the State of Nebraska,
       public liability insurance with minimum policy limits of $1,000,000/$5,000,000 per event for bodily injury or
       death and property damage. Said policy shall expressly include the "City of Omaha" as an additional named
       insured. A certified copy of the policy or certificate evidencing existence shall be delivered to the City Parks,
       Recreation and Public Property Director, or their designee. If possible and financially feasible, Organization
       shall endeavor to have the foregoing insurance policy provide coverage for the issues related to COVID-19,
       Novel Coronavirus, or similar issues.

  C.   Property Damage Insurance: Property damage insurance in an amount not less than $500,000.
  D.   Fidelity Bond: Contractor shall maintain a Fidelity Bond in the amount of $25,000.
  E.   Performance Bond: Contractor shall obtain a performance bond in the amount of one hundred percent
       (100%) of the annual contract price, executed by a corporation authorized to contract as surety in Nebraska,
       payable to the City of Omaha.

A current copy of each policy or certificate evidencing the existence thereof and bonds shall be delivered to the City
Parks, Recreation and Public Property Director or their designee prior to the start of any work by the Contractor and
Contractor shall maintain current evidence of coverage with City throughout the term of the Agreement.

XIII. INDEMNIFICATION

Contractor covenants and agrees to indemnify and hold harmless City of Omaha, its officers, agents and employees,
their successors and assigns, individually or collectively from and against all liability for any fines, claims, suits,
demands, actions or causes of action of any kind and nature asserted by Contractor or by anyone else, for personal
injury or death, or property damage in any way arising out of or resulting from any activity or operation of Contractor
in fulfilling its duties, responsibilities and obligations pursuant to the Agreement and Contractor further agrees to pay
all expenses in defending against any claims made against City; provided, however, that Contractor shall not be liable
for any injury, damage or loss occasioned to the extent of or willful misconduct of City, its agents or employees.
Contractor and City shall give prompt and timely notice of any claim made or suit instituted which, in any way, directly
or indirectly, contingently or otherwise, affects or might affect either party. Without limiting the foregoing, the parties
acknowledge and agree that the foregoing indemnification specifically includes any claims, damages, or causes of
action and all liability, cost or expense specifically including court costs and all reasonable attorney fees for any COVID-
19, Novel Coronavirus, or related issues.

XIV. TERMINATION OF SERVICES

Following formal written notice of non-compliance with specifications from the City in excess of three (3) times in
any one year period or less, the City may terminate its Agreement with the Contractor. If the Agreement with
Contractor is terminated, the City reserves the right to award the Custodial Services Agreement to the next most
qualified Contractor with the lowest bid price.


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In the event a facility is to be closed or no longer managed by the Recreation Division or for some other reason
custodial services are no longer required, the City may terminate that particular facility from the contract by giving
the Contractor written notice of termination no less than thirty (30) days prior to the final day on which services
are to be performed.

In addition to all other legal remedies available to City, the City may cancel Custodial Services Agreement should
any one or more of the foflowing events occur:

  A.   If Contractor files petition of bankruptcy; or if proceedings in bankruptcy will be instituted against it and it is
       thereafter adjudicated bankrupt pursuant to proceedings; or if a court takes jurisdiction of Security
       Contractor its assets pursuant to proceedings brought under the provisions of any federal reorganization act;
       or if a receiver for Security Contractor's assets is appointed; or if Security Contractor will be divested of its
       rights, powers and privileges to provide services identified herein by other operation of law.

  B.   If Contractor fails to perform, keep or observe any of the terms, provisions, performances, covenants and
       conditions contained herein these specifications to be performed, kept and observed by it.

  C.   If Contractor fails to abide by any and all applicable laws, ordinances, rules and regulations of the United
       States of America, State of Nebraska, Douglas County, or City of Omaha .

  D.   If following formal written notice of non-compliance with specifications from City in excess of three times in
       any one year period or less, City may terminate its Agreement with Contractor. If Contractor is terminated,
       City reserves the right to award custodial services agreement(s) to the next most qualified Contractor
       submitting a proposal.

  E.   If Contractor fails to provide an adequate number of required personnel necessary to complete the
       required custodial services on three (3) or more occasions during any one-year period or less.

  F.   If Contractor fails to provide scheduled custodial services at any one or combination of facilities on three or
       more occasions during any one-year period or less.

 G.    1.f Contractor fails to immediately remove Contractor personnel from any City facility, if requested by City.
 H.    If Contractor's Carpet Cleaning Services, Window Cleaning Services, or Outdoor Restroom Services (opening,
       closing and cleaning) functions prove to be unsatisfactory to the City, under the Custodial Services
       Agreement, City shall have the right to independently terminate any one or all these services with the
       Contractor and obtain such services from another Contractor(s), without terminating the entire Agreement.
Failure of City to terminate Agreement for any of the reasons stated above, or to insist upon strict performance of
any of the terms of the Agreement, will not constitute a waiver of <1 ny part of the Agreement. The Agreement will
be and remain in full force and effect until City calls a formal default and demands remedy.

XV.    GENERAL CONDITIONS

 A.    Applicable Law:     Parties to this Agreement shall conform to all existing and applicable city ordinances,
       resolutions, state laws, federal laws, and all existing and applicable rules and regulations. Nebraska law will
       govern the terms and the performance under this Agreement.
 B.    Assignment: Contractor may not assign its rights under this Agreement without the prior written consent of
       City. This includes if Contractor is acquired by, merged into, or similar actions by another Entity. In such
       cases, permission must be obtained in advance from City by Contractor for new organization to be allowed
       to be assigned the Agreement and related terms and conditions. If Contractor fails to obtain City permission
       for assignment, this Agreement shall terminate at that time of acquisition, merger or other related actions.
 C.    Captions: Captions used are for convenience and are not used in the construction of this Agreement.
 D.    Equal Opportunity Clause: Annexed hereto as Exhibit "A" and made a part hereof by reference are the
       equal opportunity provisions and this Agreement. Refusal by the Contractor or any subcontractor to comply
       with any portion of this program as therein stated and described will subject the offending party to any or all


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      of the following penalties: 1) Withholding of all future payments under the involved Agreement to
      Contractor in violation until it is determined that Contractor or subcontractor is in compliance with the
      provisions of the Agreement; and 2) Refusal of all future bids for any contracts with the City or any of its
      departments or divisions until s.uch time as the Contractor or subcontractor demonstrates that it has
      established and shall carry out the policies of the program as herein outlined .
 E.   E-Verify: The parties are required and hereby agree to use a federal immigration verification system to
      determine the work eligibility status of new employees physically performing services within the State of
      Nebraska. A federal immigration verification system means the electronic verification of the work
      authorization program authorized by the Illegal Immigration Reform and Immigrant Responsibility Act of
      1996, 8 U.S.C. 1324a, known as the E-Verify Program, or an equivalent federal. program designated by the
      United States Department of Homeland Security or other federal agency authorized to verify the work
      eligibility status of a newly hired employee. ·
F.    Extraordinary Event Clause: An Extraordinary Event is an event beyond the reasonable control of City which
      makes performance of an agreement impossible or so impractical as to be considered impossible by City to
      perform the agreement or any portion thereof. An Extraordinary Event may be a natural or man-made event
      which creates circumstances beyond City's reasonable control. City shall not be responsible or liable for any
      failure nor delay in performance to the extent said failures or delays are caused by an Extraordinary Event.
      The City, at its sole discretion, may indefinitely suspend any portion of this Agreement if an Extraordinary
      Event exists. In the event of an Extraordinary Event which results in one, some or all of the listed facilities in
      this Agreement being closed for two weeks or more, the City may discontinue services upon immediate
      notice.

G.    Independent Contractor: It is understood by the Contractor that any and all acts that Contractor or its
      personnel, employees, agents, contractors, or servants, perform pursuant to the terms of this Agreement
      shall be undertaken as independent contractor and not as employees of the City.
H.    Interest of the City: Pursuant to Section 8.0S of the Home Rule Charter, no elected official or any officer or
      employee of the City shall have financial interest, direct or indirect, in any City contract. Any violation of this
      section with the knowledge of the person or corporation contracting with the City shall render the contract
      voidable by the Mayor or Council.
I.    Interest of Contractor: Contractor covenants that it presently has no interest and shall not acquire any
      interest, direct or indirect, which would conflict with the performance of services required to be performed
      under this Agreement; it further covenants that in the performance of this Agreement, no person having any
      such interest shall be employed .
J.    Merger; This Agreement shall not be merged Into any other oral or written Agreement, lease or deed of any
      type. This is the complete and full agreement of the parties.
K.    Modification: This Agreement contains the entire agreement of the parties. No representations were made
      or relied upon by either party other than those that are expressly set forth herein. No agent, employee or
      other representative of either party is empowered to alter any of the terms hereof unless done in writing
      and signed by an authorized officer of the respective parties.
L.    Non-Discrimination: Contractor shall not, in the performance of this Agreement, discriminate or permit
      discrimination in violation of federal or state laws or local ordinances because of race, color, sex, age,
      disability, political or religious opinions, affiliations or national origin .
M. Records: Contractor shall maintain and make available records and accounts of all transactions of
   Contractor's activities and operations pursuant to this Agreement to the Finance Director of City or any
   other authorized City representative for audit purposes and to retain such records and accounts for a period
   of three (3) years.
N.    Strict Compliance: All provisions of this Agreement and each and every document that shall be attached
      shall be strictly complied with as written, and no substitution or change shall be made except upon written
      direction from authorized representatives.


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IN WITNESS WHEREOF, we the contracting parties, by our representative duly authorized agents, hereto affix our
signatures and seals at Omaha, Nebraska;                                    ·


BJ'S FLEET WASH, LLC                                        CITY OF OMAHA




Executed this Jg_ day of         C)   cl- ,20_2o
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B y : - - --     - -- - - - - - - -
                    Authorized Signature                   Jean Stothert, Mayor




                   (Printed Name & Title)                  ATTEST:




~
                                                           APPROVED AS TO FORM:




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                                                     EXHIBIT A
                                   EQUAL EMPLOYMENT OPPORTUNITY CLAUSE


During the performance of this contract, the contractor agrees as follows:

1)    The contractor shall not discriminate against any employee applicant for employment because of race,
      religion, color, sex, age, sexual orientation, gender identity, disability or national origin. The contractor shall
      ensure that applicants are employed and that employees are treated during employment without regard to
      their race, religion, color, sex, age, sexual orientation, gender identity, disability or national origin . As used
      herein, the word "treated" shall mean and include, without limitation, the following : recruited, whether by
      advertising or by other means; compensated; selected for training, including apprenticeship; promoted;
      upgraded; demoted; downgraded; transferred; laid off; and terminated . The contractor agrees to and shall
      post in conspicuous places, available to employees and applicants for employment, notices to be provided by
      the contracting officers setting forth the provisions of this nondiscrimination clause .

2)    The contractor shall, in all solicitations or advertisements for employees placed by or on behalf of the
      contractor, state that all qualified applicants will receive consideration for employment without regard to
      race, religion, co tor, sex, sexual orientation, gender identity or national origin, age, disability.

3)    The contractor shall send to each representative of workers with which he has a collective bargaining
      agreement or other contract or understanding a notice advising the labor union or worker's representative of
      the contractor's commitments under the equal employment opportunity clause of the city and shall post
      copies of the notice in conspicuous places available to employees and appl icants for employment.

4)    The contractor shall furn ish to the human rights and relations director all federal forms containing the
      information and reports required by the federal government for federal contracts under federal rules and
      regulations, including the information required by section 10-192 to 10-194, inclusive, and shall permit
      reasonable access to his records. Records accessible to the human rights and relations director shall be those
      which are related to paragraphs (1) through (7) of this subsection and only after reasonable notice is given the
      contractor. The purpose of th is provision is to provide for investigation to ascertain compliance with the
      program provided for herein.

S)    The contractor shall take such actions with respect to any subcontractor as the city may direct as a means of
      enforcing the provisions of paragraphs (1) through (7) herein, including penalties and sanctions for
      noncompliance; however, in the event the contractor becomes involved in or is threatened with litigation as
      the result of such directions by the city, the city will enter into such litigation as is necessary to protect the
      interests of the city and to effectuate these provisions of this division; and in the case of contracts receiving
      federal assistance, the contractor or the city may request the United States to enter into such litigation to
      protect the interests of the United States.

6)    The contractor shall file and shall cause his subcontractors, if any to file compliance reports with the
      contractor in the same form and to the same extent as required by the federal government for federal
      contracts under federal rules and regulations. Such compliance reports shall be filed with the human rights
      and relations director. Compliance reports filed at such times as directed shall contain information as to the
      employment practices, policies, programs and statistics of the contractor and his subcontractors.

7)    The contractor shall include the provisions of paragraphs (1) through (7) of this section, "Equal employment
      opportunity clause," and section 10-193 in every subcontract or purchase order so that such provisions will be
      binding upon each subcontractor or vendor.



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                                                      EXHIBIT B
                      SCHEDULE OF CUSTODIAL SERVICES REQUIRED BY CITY OF THE CONTACTOR


DEFINITION OF NON-CARPETD FLOORING
Non-Carpeted flooring shall include, but not be limited to tile, VCT, linoleum, ceramic, quarry, terrazzo, brick,
cement, etc. If flooring is not carpeted, it shall fall under the Non-Carpeted category, except for rubber flooring.


A.    DAILY SERVICE REQUIREMENTS -ALL FACILITIES:
1.    Clean and disinfect all touchable surfaces, including, · but not limited to, door handles, knobs, push bars,
      counters, etc.
2.    Clean all restrooms thoroughly, to include:
       (a)   Wet mop floors with a disinfectant cleaning solution. With dedicated mop for restrooms only and locker
             rooms.
       (b)   Clean mirrors and metal to include fixture hardware.
       {c)   Thoroughly clean toilets, urinals, and lavatories, sinks, walls and bathroom doors with a disinfectant
             cleaning solution.
       {d)   Wash toilet partitions in all restrooms with a disinfectant cleaning solution.
       {e)   Deodorizing blocks supplied by Contractor shall be maintained daily in all urinals.
       {f)   Refill soap, deodorizer, towel, tissue and sanitary product dispensers.


3.    Thoroughly clean and disinfect all showers, stalls, sinks, walls and bathroom doors (including locker rooms).
       (a) Wet mop floor with a disinfectant. With dedicated mop for restrooms only and locker rooms.
       {b) Remove soap scum, mold, mildew and scale from walls and partitions.
4.    Empty sanitary boxes in women's restrooms. Plastic liner must be in place in each box at all times.
5.    Empty and clean all wastebaskets and garbage containers, as well as disposing of packing materials. Overflow
      trash will be placed in boxes beside wastepaper baskets and will clearly be labeled as trash by City staff to
      avoid confusion over what is to be discarded. Refuse shall be bagged and removed to a designated area on
      the premises. All trash can and wastepaper receptacles shall be lined with plastic bags supplied by Contractor
      and shall be heavy duty with a minimum of 0.63 mil thickness. Plastic bag liners are to be securely tied at the
      top to prevent spillage. Dirty, soiled and/or torn trash can liners and wastepaper basket liners shall be
      replaced.

6.    Clean drinking fountains with a disinfecting cleaning solution .
7.    Clean all sinks with disinfecting cleaning solution.
8.    Vacuum all carpet, throw rugs and mats in the designated areas throughout the building including public
      areas, work rooms, corridors, meeting rooms, study rooms, lounges, offices, elevators, etc.
9.    All tiled floor areas and stairways, including quarry tile and brick, shall be kept clean by sweeping as required
      including under all throw rugs and floor mats. If floors are wet because of moisture brought in due to weather
      conditions or any other reason, floor surfaces shall be wet mopped.
10. Scuffs and black heel marks are to be removed if present on a daily basis. Special attention shall be paid to
    corners, base cove or tile turns to ensure cleanliness.
11. After cleaning of all floors and vacuuming of throw rugs and floor mats, replace all throw rugs and floor mats
    in proper and original locations.


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12. Mop buckets must be emptied daily, and mops must be rinsed clean. Wet mops must be hung over slop sink.

13. All floors shall be kept dean, according to reasonable and acceptable standards, regardless of the number of
    times that floors have to be mopped and/or waxed to accomplish this purpose. Wax build-up in corners and
    along edges and dirt streaks are not acceptable.

14. Clean table tops and countertops in all work areas.

15. Clean table tops, chairs, furniture and countertops in meeting rooms and lunch rooms.
16. Dust all window sills.

17. Dust all furniture and counters in public areas, including desks, tables, catalogs, filing cabinets, television, etc.

18. Remove spots from carpeting, throw rugs and furniture with approved spot remover.

19. Maintain furniture arrangement.
20. Inspect all table tops, walls, etc. for writing, marks and vandalism . Clean those needed and report those that
    cannot be corrected by cleaning in writing to Facility Supervisor.
21. Clean Wi.ndow and Glass:

     (a)   Entrance and exit doors (interior and exterior).
     (b)   Vestibule doors, office doors, and all glass panels adjacent to doors.
     (c)   Glass-fronted display cases.
     (d)   Television sets and monitors (not computer monitors) .
     (e)   Clean interior glass and windows in high traffic areas.

22. Thoroughly scrub and polish desk tops and public service counters, where applicable and accessible.
    (Contractor is not required to remove paperwork, etc.)

23. Gymnasium Wood Floor daily cleaning to include:
     {a)   Dust mop floor daily with clean treated mop head. With dedicated mop for gymnasium
     {b)   Damp mop (with damp, clean mop only). There must be a designated mop for the gym floor only. Must
           Not Leave Water Streaks and Spots.
     (c)   Remove gum/candy and black marks from floor.

24. Gymnasium Synthetic Floors cleaning to include:

     (a)   Sweep floor daily.
     (b)   Damp mop floor twice a week with dedicated mop for gymnasium. Must use a clean mop head and
           water. Must Not Leave Water Streaks and Spots.

25. General Gymnasium Cleaning:

     (a)   Remove all debris, spots, and spills from bleachers.
     (b)   Move portable bleachers and clean up spots, spills, and debris.
     (c)   Clean behind stationary bleachers.

26. Weight Room cleaning is to include:

     (a)   The vinyl and rubber covers on each piece of the weight room equipment are to be washed with mild
           soap and water daily.




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 B.    DAILY SERVICE REQUIREMENTS -MOTO MCLEAN ICE ARENA:

 1.     All requirements list in All Facilities above, plus;
 2.     Remove debris from under bleachers.
3.      Showers and bathroom tile are to be thoroughly cleaned. Contractor will use chemicals, as needed, to
        remove scale and lime buildup.
4.      Wash walls in restroom and treat with a disinfectant.
 5.     Mop all spills and spots under bleachers as well as wipe down bleacher seats.
6.      Mop players' benches and back side of rink boards in the players' area.
7.      Mop black matting floor in locker rooms.
8.      Twice a month - clean and mop all rubber floors.

C.     WEEKLY SERVICE REQUIREMENTS- COMMON GROUND:

1.      Power wash all shower floors using electric power washers .


D.     WEEKLY SERVICE REQUIREMENTS - ALL FACILITIES:

1.     Clean Custodial closet/storage areas. Custodian closet/storage area must be kept clean and organized at all
       times.
2.     Vacuum all upholstered furniture (including public areas, workrooms, and offices.
3.     Wipe with damp cloth all vinyl and other hard surface covered furniture (including public areas, work rooms,
       and offices).
4.     Clean and polish all metal (including kick plates, switch plates, door hardware, etc.).
5.     Wash exterior of water fountains and vending machines.
6.     Spot clean walls in high traffic areas, especially around switch plates, etc.
7.     Dust partitions, ledges, low moldings, window sills and all book shelves, including those in work rooms,
       offices, etc. (Contractor is not required to move or remove any equipment, books, paperwork, etc.).
8.     Dust all blinds.
9.     Clean stove tops, cabinet doors and exteriors of all appliances (refrigerators, microwaves, etc.) in all staff
       rooms, kitchens and kitchenettes.

E.     MONTHLY SERVICE REQUIREMENTS-ALL FACILITIES:

1.     Polish all furniture and wooden doors.
2.     High dust door frames and other moldings and casings.
3.     Dust and vacuum all HVAC grills, vents and louvers in all walls and suspended ceiling areas.
4.     Wash all banisters and rails including the removal of all grease and oil residue when required .
5.     Shower rooms and bathroom walls and floors are to be thoroughly cleaned by using appropriate chemicals
       and cleaning agents required to ensure removal of scale and lime bui ldup and the disinfecting of all surfaces.
6.     Wet or dry mop (depending on weather and floor materials) all entry vestibules. Spray buff twice weekly
       with dedicated mop.


F.    MONTHLY SERVICE REQUIREMENTS- SPECIAL CLEANING INSTRUCTIONS:

1.     Motto McLean Ice Rink - Extract Clean Black Floor Matting throughout Arena .
2.     Common Ground Community Center - Extract Clean Black Floor Matting in Weight Room.


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 G.    Bl-MONTHLY SERVICE REQUIREMENTS - SPECIAL INSTRUCTIONS:

 1.     Common Ground Community Center - Replace all shower curtains.


 H.    QUARTERLY SERVICE REQUIREMENTS-ALL FACILITIES:

Generally, Quarterly Services are to be performed in the months of March, June, September & December, unless
specifically instructed by City for different months. Any other floor finishing will be done at the option of City.

1.      Strip and rewax all non-carpeted floors - All non-carpeted floors are to be machine scrubbed, rinsed and
        sealed with at least one (1) coat of an acrylic or polymer sealer, appropriate for floor type, with a minimum of
        16% solids. All non-carpeted floors mentioned above are then to have applied three (3) coats of polymer
        floor finish having a minimum of 24% solids.
2.      All rubber floors are to be machine scrubbed and rinsed.

3.      Clean all non-upholstered furniture and chairs in all rooms and common areas.

4.      Clean all cobwebs from upper windows, light fixtures, walls, HVAC vents, etc.


I.     SEMI-ANNUAL SERVICE REQUIREMENTS - ALL FACILITIES:

1.      Dust and clean interior and exterior of all light fixtures and diffusers.
2.      Clean all plastic chairs with soap and water (this includes all plastic chairs in public areas, meeting rooms,
        offices, staff areas, break rooms, etc.} .
3.     Steam clean all upholstered furniture .


J.     ANNUAL SERVICE REQUIREMENTS -ALL FACILITIES:

1.     Clean all exterior windows and glass at each facility.


K.     SEASONAL SERVICE REQUIREMENTS - ZORINSKY LAKE, FLANAGAN LAKE, PIPAL PARK RESTROOMS:

During the Lake and Park Restroom open season of approximately April 15 th through October 15 th , the following
maintenance will be performed on Restroom buildings:

1.     Open and close designated restrooms daily. Zorinsky Lake has four (4) Restroom Buildings; Flanagan Lake has
       two (2) Restroom Buildings. Restrooms are to unlocked on or around 5:00 am and locked around 11:00 pm
       daily during the season.
2.     This service may be cancelled by City at any time during the term of an agreement.
3.     City may add additional restroom facilities at each lake, other lakes, or other facilities at a later date.
4.     Restrooms are to be cleaned and supplied daily.
5.     Restroom supplies will be provided by Contractor and will be stocked and maintained daily.


L.     GENERAL SERVICE REQUIREMENTS:
It is understood between all parties that the quarterly, semi-annual, and annual services are to be included in
Contractor's monthly service bid. Contractor will need to provide a per-facility cost as well as a monthly cost.


M. SPECIAL SERVICE REQUESTS:
From time-to-time the City may request Contractor perform custodial related services in addition or above the
specifications listed in these specifications. Contractor shall provide an hourly or per job quote for such services .


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                                                            EXHIBIT C
                                             CARPET CLEANING SPECIFICATIONS


A.    CARPET CLEANING REQUIREMENTS:

      Requires. Use of Dupont Resistech Carpet Maintenance System or Equivalent

      1)   Low moisture carpet cleaning chemistry designed to dean a carpet's fibers by encapsulating soils.
      2)   System is to provide soil resistance and vacuuming efficiencies.
      3)   Supply, equipment, chemicals, labor, supervision, storage, and transportation .
      4)   Obtain approval of Fleet and Facilities Supervisor before performing operations .
      5)   Perform maintenance operations outside of normal work hours unless directed by facilities supervisor.
      6)   Contractor Supervisory personnel must be present while carpet cleaning services are being performed .
      7)   Proof of Certification and Training for Employees will be provided to City.
      8)   Must comply with environmental regulations of City of Omaha.

B.    CARPET CLEANING FREQUENCY:

      1)   Carpet Cleanings will be quarterly at all facilities, unless otherwise specified.

C.    CARPET CLEANING EQUIPMENT TO BE USED:

      1)   Low moisture carpet maintenance system machine.
      2)   Dual Brush Pile Lifter - Used during both Low moisture carpet maintenance chemistry and Extraction cleaning
      3)   Walk behind, self-contained Extractor.
      4)   Equipment used is to be in optimum condition to provide optimum deaning.

D.    CARPET CLEANING MATERIALS TO BE USED:

      1)   Maximum pH 10.0 [Synthetic/Nylon fibers) Maximum pH of 8 or approval of the New Zealand Wool Bureau
           (wool/natural fibers) .
      2)   Phosphate free .
      3)   No optical brighteners.
      4)   No chlorinated solvents.

E.    CARPET CLEANING METHOD TO BE USED:

      1)   Low moisture chemistry to be used on carpet.
      2)   Restoration cleaning for heavy soil conditions prior to low moisture carpet maintenance chemistry application.


F.    CARPET CLEANING PROCESS TO BE USED:

     1)    Vacuum carpet before proceeding with cleaning processes.
     2)    Ensure that ca rpet pile is lifted to the ma ximum extent possible.
     3)    Edge and detail vacuuming as necessary.
     4)    Spot and spill removal before low moisture cleaning.
     5)    Restoration cleaning for heavy soil conditions prior to low moisture carpet maintenance chemistry application .
     6)    Clean with low moisture carpet maintenance system.
     7)    Force air-dry carpet as required based on local humidity conditions .
     8}    Damp mop hard surface floors adjacent to work areas to minimize slippery surfaces .
     9)    Carpets will be dry prior to resumption of foot traffic.


G.    FOLLOW UP TO CARPET CLEANINGS:

      1)   Contractor will be requ ired to make follow up visits after each cleaning for items which have not been cleaned to the
           satisfaction of the Facilities Supervisor, at no additional cost.




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    Subject: Re : Site visits
    From: "Steven R. Slater (Prks)" <Steven.Slater@cityofomaha.org >
    Date : 1/29/2021, 8:46 AM
    To : "Matthew K. Kalcevich (Prks)" <matthew.kalce vich@cityofoma ha.org>
    CC: Michelle Peters <Michelle.Peter s@cityofomaha .org>, "Kari H. Vasquez"
    <Kari .Vasquez@cityofomaha.org>

   Thanks Matt and everyone for their support on this matter. I believe Kari and I had a good and
   productive meeting last week with Rodney's staff. I didn't realize that the recap he said was sent
   needed us to validate it, but I will revisit the email. I do need to inform them that we wi ll not be
   returning the surveys BJ's has sent out, as we prefer to use our own evaluations with their
   performance. While there have been no legal actions specifically initiated against our department,
   I do consider legal action against the city on other matters as adverse action and feel our actions in
   working through the custodial issues are being influenced by that fact. I drafted a questionnaire in
   the last bid specifications that went out. See the attached "Contractor Certification". Rodney
   initiated and answered "Yes" to each question; however, I would like to see what jobs BJ's has
   completed in the past of similar size and complexity.


   Steve Slater
   Contractual Services Coordinator
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   Direct: (402) 444-4987 I Office: (402) 444-5900
   Email: steven.slater@cityofomaha.org
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   On Fri, Jan 29, 2021 at 8: 14 AM Matthew K. Kalcevich (Prks)
   <matthew.kalcevich@cityofomaha.org> wrote:

      Interesting email. Seems like a lot of backtracking to me. If can follow up and reiterate that our
   entire goal is to simply have his people perform the duties to which he committed and things
   would be fine. Not sure if pointing out the email requests or referencing these other actions, that
   are highly unorthodox or even suspect to an ulterior motive is necessary. However, no matter
   what happens I know we will keep our guard up. I am certainly highly frustrated and disappointed
   by what a strain this has been on all of you . I ap preciate your persistence and professionalism to
   try and put this in the best spot possible. Let me know what else we need to discuss or of any
   other concerns. Good luck.
      Matt




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